Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 1 of 43 Page ID
                                 #:5064




                          Exhibit 2
Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 2 of 43 Page ID
                                 #:5065




                                                           Firm Resume
                                 Securities Class Action Litigation




              New York, NY   |   Wilmington, DE   |   Washington, D.C.

                                 www.labaton.com
     Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 3 of 43 Page ID
                                      #:5066




Table of Contents
About the Firm ...........................................................................................................................................................1

    Notable Successes .................................................................................................................................................2

    Lead Counsel Appointments in Ongoing Litigation .............................................................................................6

    Innovative Legal Strategy ......................................................................................................................................7

    Appellate Advocacy and Trial Experience ............................................................................................................8

Our Clients .................................................................................................................................................................9

Awards and Accolades ............................................................................................................................................ 10

Community Involvement ......................................................................................................................................... 11

    Firm Commitments ............................................................................................................................................. 11

    Individual Attorney Commitments ..................................................................................................................... 12

Commitment to Diversity........................................................................................................................................ 13

Securities Litigation Attorneys................................................................................................................................ 14
   Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 4 of 43 Page ID
                                    #:5067




About the Firm
Founded in 1963, Labaton Sucharow LLP has earned a reputation as one of the leading plaintiffs’ firms in the
United States. We have recovered more than $12 billion and secured corporate governance reforms on behalf
of the nation’s largest institutional investors, including public pension and Taft-Hartley funds, hedge funds,
investment banks, and other financial institutions. These recoveries include more than $1 billion in In re
American International Group, Inc. Securities Litigation, $671 million in In re HealthSouth Securities Litigation,
$624 million in In re Countrywide Financial Corporation Securities Litigation, and $473 million in In re Schering-
Plough/ENHANCE Securities Litigation.

As a leader in the field of complex litigation, the Firm has successfully conducted class, mass, and derivative
actions in the following areas: securities; antitrust; financial products and services; corporate governance and
shareholder rights; mergers and acquisitions; derivative; REITs and limited partnerships; consumer protection;
and whistleblower representation.

Along with securing newsworthy recoveries, the Firm has a track record for successfully prosecuting complex
cases from discovery to trial to verdict. In court, as Law360 has noted, our attorneys are known for “fighting
defendants tooth and nail.” Our appellate experience includes winning appeals that increased settlement value
for clients, and securing a landmark 2013 U.S. Supreme Court victory benefitting all investors by reducing
barriers to the certification of securities class action cases.

Our Firm is equipped to deliver results with a robust infrastructure of more than 60 full-time attorneys, a
dynamic professional staff, and innovative technological resources. Labaton Sucharow attorneys are skilled in
every stage of business litigation and have challenged corporations from every sector of the financial markets.
Our professional staff includes paralegals, financial analysts, e-discovery specialists, a certified public
accountant, a certified fraud examiner, and a forensic accountant. With seven investigators, including former
members of federal and state law enforcement, we have one of the largest in-house investigative teams in the
securities bar. Managed by a law enforcement veteran who spent 12 years with the FBI, our internal
investigative group provides us with information that is often key to the success of our cases.

Outside of the courtroom, the Firm is known for its leadership and participation in investor protection
organizations, such as the Council for Institutional Investors, World Federation of Investors, National
Association of Shareholder and Consumer Attorneys, as well as serving as a patron of the John L. Weinberg
Center for Corporate Governance of the University of Delaware. The Firm shares these groups’ commitment to
a market that operates with greater transparency, fairness, and accountability.

Labaton Sucharow has been consistently ranked as a top-tier firm in leading industry publications such as
Chambers & Partners USA, The Legal 500, and Benchmark Litigation. For the past decade, the Firm was listed
on The National Law Journal’s Plaintiffs’ Hot List and was inducted to the Hall of Fame for successive honors.
The Firm has also been featured as one of Law360’s Most Feared Plaintiffs Firms and Class Action and
Securities Law Practice Groups of the Year.

Visit www.labaton.com for more information about our Firm.




                                                                                                                1
   Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 5 of 43 Page ID
                                    #:5068




Securities Class Action Litigation
Labaton Sucharow is a leader in securities litigation and a trusted advisor to more than 300 institutional
investors. Since the passage of the Private Securities Litigation Reform Act of 1995 (PSLRA), the Firm has
recovered more than $9 billion in the aggregate for injured investors through securities class actions
prosecuted throughout the United States and against numerous public corporations and other corporate
wrongdoers.

These notable recoveries would not be possible without our exhaustive case evaluation process. The Firm has
developed a proprietary system for portfolio monitoring and reporting on domestic and international securities
litigation, and currently provides these services to more than 300 institutional investors, which manage
collective assets of more than $2 trillion. The Firm’s in-house licensed investigators also gather crucial details to
support our cases, whereas other firms rely on outside vendors, or conduct no confidential investigation at all.

As a result of our thorough case evaluation process, our securities litigators can focus solely on cases with
strong merits. The benefits of our selective approach are reflected in the low dismissal rate of the securities
cases we pursue, which is well below the industry average. Over the past decade, we have successfully
prosecuted headline-making class actions against AIG, Countrywide, Fannie Mae, and Bear Stearns, among
others.



Notable Successes
Labaton Sucharow has achieved notable successes in financial and securities class actions on behalf of
investors, including the following:

       In re American International Group, Inc. Securities Litigation, No. 04-cv-8141 (S.D.N.Y.)

        In one of the most complex and challenging securities cases in history, Labaton Sucharow secured
        more than $1 billion in recoveries on behalf of lead plaintiff Ohio Public Employees’ Retirement System
        in a case arising from allegations of bid rigging and accounting fraud. To achieve this remarkable
        recovery, the Firm took over 100 depositions and briefed 22 motions to dismiss. The settlement
        entailed a $725 million settlement with American International Group (AIG), $97.5 million settlement
        with AIG’s auditors, $115 million settlement with former AIG officers and related defendants, and an
        additional $72 million settlement with General Reinsurance Corporation, which was approved by the
        Second Circuit on September 11, 2013.

       In re Countrywide Financial Corp. Securities Litigation, No. 07-cv-05295 (C.D. Cal.)

        Labaton Sucharow, as lead counsel for the New York State Common Retirement Fund and the five
        New York City public pension funds, sued one of the nation’s largest issuers of mortgage loans for
        credit risk misrepresentations. The Firm’s focused investigation and discovery efforts uncovered
        incriminating evidence that led to a $624 million settlement for investors. On February 25, 2011, the
        court granted final approval to the settlement, which is one of the top 20 securities class action
        settlements in the history of the PSLRA.

       In re HealthSouth Corp. Securities Litigation, No. 03-cv-01500 (N.D. Ala.)

        Labaton Sucharow served as co-lead counsel to New Mexico State Investment Council in a case
        stemming from one of the largest frauds ever perpetrated in the healthcare industry. Recovering
        $671 million for the class, the settlement is one of the top 15 securities class action settlements of all

                                                                                                                     2
Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 6 of 43 Page ID
                                 #:5069


    time. In early 2006, lead plaintiffs negotiated a settlement of $445 million with defendant HealthSouth.
    On June 12, 2009, the court also granted final approval to a $109 million settlement with defendant
    Ernst & Young LLP. In addition, on July 26, 2010, the court granted final approval to a $117 million
    partial settlement with the remaining principal defendants in the case, UBS AG, UBS Warburg LLC,
    Howard Capek, Benjamin Lorello, and William McGahan.

   In re Schering-Plough/ENHANCE Securities Litigation, No. 08-cv-00397 (D. N.J.)

    As co-lead counsel, Labaton Sucharow obtained a $473 million settlement on behalf of co-lead plaintiff
    Massachusetts Pension Reserves Investment Management Board. After five years of litigation, and
    three weeks before trial, the settlement was approved on October 1, 2013. This recovery is one of the
    largest securities fraud class action settlements against a pharmaceutical company. The Special
    Masters’ Report noted, "the outstanding result achieved for the class is the direct product of
    outstanding skill and perseverance by Co-Lead Counsel…no one else…could have produced the
    result here—no government agency or corporate litigant to lead the charge and the Settlement
    Fund is the product solely of the efforts of Plaintiffs' Counsel."

   In re Waste Management, Inc. Securities Litigation, No. H-99-2183 (S.D. Tex.)

    In 2002, the court approved an extraordinary settlement that provided for recovery of $457 million in
    cash, plus an array of far-reaching corporate governance measures. Labaton Sucharow represented
    lead plaintiff Connecticut Retirement Plans and Trust Funds. At that time, this settlement was the
    largest common fund settlement of a securities action achieved in any court within the Fifth Circuit and
    the third largest achieved in any federal court in the nation. Judge Harmon noted, among other things,
    that Labaton Sucharow “obtained an outstanding result by virtue of the quality of the work and
    vigorous representation of the class.”

   In re General Motors Corp. Securities Litigation, No. 06-cv-1749 (E.D. Mich.)

    As co-lead counsel in a case against automotive giant, General Motors (GM), and Deloitte & Touche
    LLP (Deloitte), its auditor, Labaton Sucharow obtained a settlement of $303 million—one of the largest
    settlements ever secured in the early stages of a securities fraud case. Lead plaintiff Deka Investment
    GmbH alleged that GM, its officers, and its outside auditor overstated GM’s income by billions of
    dollars, and GM’s operating cash flows by tens of billions of dollars, through a series of accounting
    manipulations. The final settlement, approved on July 21, 2008, consisted of a cash payment of
    $277 million by GM and $26 million in cash from Deloitte.

   Arkansas Teacher Retirement System v. State Street Corp., No. 11-cv-10230 (D. Mass)

    Labaton Sucharow served as lead counsel for the plaintiff Arkansas Teacher Retirement System (ATRS)
    in this securities class action against Boston-based financial services company, State Street Corporation
    (State Street). On November 2, 2016, the court granted final approval of the $300 million settlement
    with State Street. The plaintiffs claimed that State Street, as custodian bank to a number of public
    pension funds, including ATRS, was responsible for foreign exchange (FX) trading in connection with its
    clients global trading. Over a period of many years, State Street systematically overcharged those
    pension fund clients, including Arkansas, for those FX trades.

   Wyatt v. El Paso Corp., No. H-02-2717 (S.D. Tex.)

    Labaton Sucharow secured a $285 million class action settlement against the El Paso Corporation on
    behalf of co-lead plaintiff, an individual. The case involved a securities fraud stemming from the
    company’s inflated earnings statements, which cost shareholders hundreds of millions of dollars during
    a four-year span. On March 6, 2007, the court approved the settlement and also commended the


                                                                                                          3
Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 7 of 43 Page ID
                                 #:5070


    efficiency with which the case had been prosecuted, particularly in light of the complexity of the
    allegations and the legal issues.

   In re Bear Stearns Cos., Inc. Securities, Derivative & ERISA Litigation,
    No. 08-cv-2793 (S.D.N.Y.)

    Labaton Sucharow served as co-lead counsel, representing lead plaintiff, the State of Michigan
    Retirement Systems, and the class. The action alleged that Bear Stearns and certain officers and
    directors made misstatements and omissions in connection with Bear Stearns’ financial condition,
    including losses in the value of its mortgage-backed assets and Bear Stearns’ risk profile and liquidity.
    The action further claimed that Bear Stearns’ outside auditor, Deloitte & Touche LLP, made
    misstatements and omissions in connection with its audits of Bear Stearns’ financial statements for
    fiscal years 2006 and 2007. Our prosecution of this action required us to develop a detailed
    understanding of the arcane world of packaging and selling subprime mortgages. Our complaint has
    been called a “tutorial” for plaintiffs and defendants alike in this fast-evolving area. After surviving
    motions to dismiss, on November 9, 2012, the court granted final approval to settlements with
    the Bear Stearns defendants for $275 million and with Deloitte for $19.9 million.

   In re Massey Energy Co. Securities Litigation, No. 10-CV-00689 (S.D. W.Va.)

    As co-lead counsel representing the Commonwealth of Massachusetts Pension Reserves Investment
    Trust, Labaton Sucharow achieved a $265 million all-cash settlement in a case arising from one of the
    most notorious mining disasters in U.S. history. On June 4, 2014, the settlement was reached with
    Alpha Natural Resources, Massey’s parent company. Investors alleged that Massey falsely told
    investors it had embarked on safety improvement initiatives and presented a new corporate image
    following a deadly fire at one of its coal mines in 2006. After another devastating explosion which
    killed 29 miners in 2010, Massey’s market capitalization dropped by more than $3 billion. Judge Irene
    C. Berger noted that “Class counsel has done an expert job of representing all of the class
    members to reach an excellent resolution and maximize recovery for the class.”

   Eastwood Enterprises, LLC v. Farha (WellCare Securities Litigation),
    No. 07-cv-1940 (M.D. Fla.)

    On behalf of The New Mexico State Investment Council and the Public Employees Retirement
    Association of New Mexico, Labaton Sucharow served as co-lead counsel and negotiated a
    $200 million settlement over allegations that WellCare Health Plans, Inc., a Florida-based managed
    healthcare service provider, disguised its profitability by overcharging state Medicaid programs. Under
    the terms of the settlement approved by the court on May 4, 2011, WellCare agreed to pay an
    additional $25 million in cash if, at any time in the next three years, WellCare was acquired or
    otherwise experienced a change in control at a share price of $30 or more after adjustments for
    dilution or stock splits.

   In re Bristol-Myers Squibb Securities Litigation, No. 00-cv-1990 (D.N.J.)

    Labaton Sucharow served as lead counsel representing the lead plaintiff, union-owned LongView
    Collective Investment Fund of the Amalgamated Bank, against drug company Bristol-Myers Squibb
    (BMS). Lead plaintiff claimed that the company’s press release touting its new blood pressure
    medication, Vanlev, left out critical information, other results from the clinical trials indicated that
    Vanlev appeared to have life-threatening side effects. The FDA expressed serious concerns about
    these side effects, and BMS released a statement that it was withdrawing the drug's FDA application,
    resulting in the company's stock price falling and losing nearly 30 percent of its value in a single day.
    After a five year battle, we won relief on two critical fronts. First, we secured a $185 million recovery
    for shareholders, and second, we negotiated major reforms to the company's drug development


                                                                                                            4
Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 8 of 43 Page ID
                                 #:5071


    process that will have a significant impact on consumers and medical professionals across the globe.
    Due to our advocacy, BMS must now disclose the results of clinical studies on all of its drugs marketed
    in any country.

   In re Fannie Mae 2008 Securities Litigation, No. 08-cv-7831 (S.D.N.Y.)

    As co-lead counsel representing co-lead plaintiff Boston Retirement System, Labaton Sucharow
    secured a $170 million settlement on March 3, 2015 with Fannie Mae. Lead plaintiffs alleged that
    Fannie Mae and certain of its current and former senior officers violated federal securities laws, by
    making false and misleading statements concerning the company’s internal controls and risk
    management with respect to Alt-A and subprime mortgages. Lead plaintiffs also alleged that
    defendants made misstatements with respect to Fannie Mae’s core capital, deferred tax assets, other-
    than-temporary losses, and loss reserves. This settlement is a significant feat, particularly following the
    unfavorable result in a similar case for investors of Fannie Mae’s sibling company, Freddie Mac.
    Labaton Sucharow successfully argued that investors' losses were caused by Fannie Mae's
    misrepresentations and poor risk management, rather than by the financial crisis.

   In re Broadcom Corp. Class Action Litigation, No. 06-cv-05036 (C.D. Cal.)

    Labaton Sucharow served as lead counsel on behalf of lead plaintiff New Mexico State Investment
    Council in a case stemming from Broadcom Corp.’s $2.2 billion restatement of its historic financial
    statements for 1998 - 2005. In August 2010, the court granted final approval of a $160.5 million
    settlement with Broadcom and two individual defendants to resolve this matter, the second largest up-
    front cash settlement ever recovered from a company accused of options backdating. Following a
    Ninth Circuit ruling confirming that outside auditors are subject to the same pleading standards as all
    other defendants, the district court denied Broadcom’s auditor Ernst & Young’s motion to dismiss on
    the ground of loss causation. This ruling is a major victory for the class and a landmark decision by the
    court—the first of its kind in a case arising from stock-options backdating. In October 2012, the court
    approved a $13 million settlement with Ernst & Young.

   In re Satyam Computer Services Ltd. Securities Litigation, No. 09-md-2027 (S.D.N.Y.)

    Satyam, referred to as “India’s Enron,” engaged in one of the most egregious frauds on record. In a
    case that rivals the Enron and Bernie Madoff scandals, the Firm represented lead plaintiff UK-based
    Mineworkers' Pension Scheme, which alleged that Satyam Computer Services Ltd., related entities, its
    auditors, and certain directors and officers made materially false and misleading statements to the
    investing public about the company’s earnings and assets, artificially inflating the price of Satyam
    securities. On September 13, 2011, the court granted final approval to a settlement with Satyam of
    $125 million and a settlement with the company’s auditor, PricewaterhouseCoopers, in the amount of
    $25.5 million. Judge Barbara S. Jones commended lead counsel during the final approval hearing
    noting that the “…quality of representation which I found to be very high…”

   In re Mercury Interactive Corp. Securities Litigation, No. 05-cv-3395 (N.D. Cal.)

    Labaton Sucharow served as co-lead counsel on behalf of co-lead plaintiff Steamship Trade
    Association/International Longshoremen’s Association Pension Fund, which alleged Mercury backdated
    option grants used to compensate employees and officers of the company. Mercury’s former CEO,
    CFO, and General Counsel actively participated in and benefited from the options backdating scheme,
    which came at the expense of the company’s shareholders and the investing public. On September 25,
    2008, the court granted final approval of the $117.5 million settlement.




                                                                                                             5
   Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 9 of 43 Page ID
                                    #:5072


      In re Oppenheimer Champion Fund Securities Fraud Class Actions, No. 09-cv-525 (D.
       Colo.) and In re Core Bond Fund, No. 09-cv-1186 (D. Colo.)

       Labaton Sucharow served as lead counsel and represented individuals and the proposed class in two
       related securities class actions brought against OppenheimerFunds, Inc., among others, and certain
       officers and trustees of two funds—Oppenheimer Core Bond Fund and Oppenheimer Champion
       Income Fund. The lawsuits alleged that the investment policies followed by the funds resulted in
       investor losses when the funds suffered drops in net asset value although the funds were presented as
       safe and conservative investments to consumers. In May 2011, the Firm achieved settlements
       amounting to $100 million: $52.5 million in In re Oppenheimer Champion Fund Securities Fraud Class
       Actions, and a $47.5 million settlement in In re Core Bond Fund.

      In re Computer Sciences Corporation Securities Litigation, No. 11-cv-610 (E.D. Va.)

       As lead counsel representing Ontario Teachers’ Pension Plan Board, Labaton Sucharow secured a
       $97.5 million settlement in this “rocket docket” case involving accounting fraud. The settlement was
       the third largest all cash recovery in a securities class action in the Fourth Circuit and the second
       largest all cash recovery in such a case in the Eastern District of Virginia. The plaintiffs alleged that IT
       consulting and outsourcing company Computer Sciences Corporation (CSC) fraudulently inflated its
       stock price by misrepresenting and omitting the truth about the state of its most visible contract and
       the state of its internal controls. In particular, the plaintiffs alleged that CSC assured the market that it
       was performing on a $5.4 billion contract with the UK National Health Services when CSC internally
       knew that it could not deliver on the contract, departed from the terms of the contract, and as a result,
       was not properly accounting for the contract. Judge T.S. Ellis, III stated, “I have no doubt—that the
       work product I saw was always of the highest quality for both sides.”



Lead Counsel Appointments in Ongoing Litigation
Labaton Sucharow’s institutional investor clients are regularly chosen by federal judges to serve as lead
plaintiffs in prominent securities litigations brought under the PSLRA. Dozens of public pension funds and
union funds have selected Labaton Sucharow to represent them in federal securities class actions and advise
them as securities litigation/investigation counsel. Our recent notable lead and co-lead counsel appointments
include the following:

      In re AT&T/DirecTV Now Securities Litigation, No. 19-cv-2892 (S.D.N.Y.)

       Labaton Sucharow represents Steamfitters Local 449 Pension Plan in this securities class action against
       AT&T and multiple executives and directors of the company alleging wide-ranging fraud, abusive sales
       tactics, and misleading statements to the market concerning its streaming service, DirecTV Now.

      In re PG&E Corporation Securities Litigation, No. 18-cv-03509 (N.D. Cal.)

       Labaton Sucharow represents the Public Employees Retirement Association of New Mexico in a
       securities class action lawsuit against PG&E related to wildfires that devastated Northern California in
       2017.

      In re SCANA Corporation Securities Litigation, No. 17-cv-2616 (D.S.C.)

       Labaton Sucharow represents the West Virginia Investment Management Board against SCANA
       Corporation and certain of the company’s senior executives in this securities class action alleging false
       and misleading statements about the construction of two new nuclear power plants.



                                                                                                                 6
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 10 of 43 Page ID
                                    #:5073


       Murphy v. Precision Castparts Corp., No. 16-cv-00521 (D. Or.)

        Labaton Sucharow represents Oklahoma Firefighters Pension and Retirement System in this securities
        class action against Precision Castparts Corp., an aviation parts manufacturing conglomerate that
        produces complex metal parts primarily marketed to industrial and aerospace customers.

       In re Goldman Sachs Group, Inc. Securities Litigation, No. 10-cv-03461 (S.D.N.Y.)

        Labaton Sucharow represents Arkansas Teacher Retirement System in this high-profile litigation based
        on the scandals involving Goldman Sachs’ sales of the Abacus CDO.



Innovative Legal Strategy
Bringing successful litigation against corporate behemoths during a time of financial turmoil presents many
challenges, but Labaton Sucharow has kept pace with the evolving financial markets and with corporate
wrongdoer’s novel approaches to committing fraud.

Our Firm’s innovative litigation strategies on behalf of clients include the following:

       Mortgage-Related Litigation

        In In re Countrywide Financial Corporation Securities Litigation, No. 07-cv-5295 (C.D. Cal.), our client’s
        claims involved complex and data-intensive arguments relating to the mortgage securitization process
        and the market for residential mortgage-backed securities (RMBS) in the United States. To prove that
        defendants made false and misleading statements concerning Countrywide’s business as an issuer of
        residential mortgages, Labaton Sucharow utilized both in-house and external expert analysis. This
        included state-of-the-art statistical analysis of loan level data associated with the creditworthiness of
        individual mortgage loans. The Firm recovered $624 million on behalf of investors.

        Building on its experience in this area, the Firm has pursued claims on behalf of individual purchasers
        of RMBS against a variety of investment banks for misrepresentations in the offering documents
        associated with individual RMBS deals.

       Options Backdating

        In 2005, Labaton Sucharow took a pioneering role in identifying options-backdating practices as both
        damaging to investors and susceptible to securities fraud claims, bringing a case, In re Mercury
        Interactive Securities Litigation, No. 05-cv-3395 (N.D. Cal.), that spawned many other plaintiff
        recoveries.

        Leveraging its experience, the Firm went on to secure other significant options backdating
        settlements, in, for example, In re Broadcom Corp. Class Action Litigation, No. 06-cv-5036 (C.D. Cal.),
        and in In re Take-Two Interactive Securities Litigation, No. 06-cv-0803 (S.D.N.Y.). Moreover, in Take-
        Two, Labaton Sucharow was able to prompt the SEC to reverse its initial position and agree to
        distribute a disgorgement fund to investors, including class members. The SEC had originally planned
        for the fund to be distributed to the U.S. Treasury. As a result, investors received a very significant
        percentage of their recoverable damages.

       Foreign Exchange Transactions Litigation

        The Firm has pursued or is pursuing claims for state pension funds against BNY Mellon and State
        Street Bank, the two largest custodian banks in the world. For more than a decade, these banks failed


                                                                                                                7
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 11 of 43 Page ID
                                    #:5074


        to disclose that they were overcharging their custodial clients for foreign exchange transactions. Given
        the number of individual transactions this practice affected, the damages caused to our clients and the
        class were significant. Our claims, involving complex statistical analysis, as well as qui tam
        jurisprudence, were filed ahead of major actions by federal and state authorities related to similar
        allegations commenced in 2011. Our team favorably resolved the BNY Mellon matter in 2012. The case
        against State Street Bank resulted in a $300 million recovery.



Appellate Advocacy and Trial Experience
When it is in the best interest of our clients, Labaton Sucharow repeatedly has demonstrated our willingness
and ability to litigate these complex cases all the way to trial, a skill unmatched by many firms in the plaintiffs
bar.

Labaton Sucharow is one of the few firms in the plaintiffs securities bar to have prevailed in a case before the
U.S. Supreme Court. In Amgen Inc. v. Connecticut Retirement Plans and Trust Funds, 568 U.S. 455 (2013), the
Firm persuaded the court to reject efforts to thwart the certification of a class of investors seeking monetary
damages in a securities class action. This represents a significant victory for all plaintiffs in securities class
actions.

In In re Real Estate Associates Limited Partnership Litigation, Labaton Sucharow’s advocacy significantly
increased the settlement value for shareholders. The defendants were unwilling to settle for an amount the
Firm and its clients viewed as fair, which led to a six-week trial. The Firm and co-counsel ultimately obtained a
landmark $184 million jury verdict. The jury supported the plaintiffs’ position that the defendants knowingly
violated the federal securities laws, and that the general partner had breached his fiduciary duties to
shareholders. The $184 million award was one of the largest jury verdicts returned in any PSLRA action and one
in which the class, consisting of 18,000 investors, recovered 100 percent of their damages.




                                                                                                                  8
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 12 of 43 Page ID
                                    #:5075




Our Clients
Labaton Sucharow represents and advises the following institutional investor clients, among others:


      Arkansas Teacher Retirement System             New York State Common Retirement Fund

      Baltimore County Retirement System             Norfolk County Retirement System

      Boston Retirement System                       Office of the Ohio Attorney General and
                                                       several of its Retirement Systems

      California State Teachers’ Retirement          Oklahoma Firefighters Pension and Retirement
       System                                          System

      Chicago Teachers’ Pension Fund                 Plymouth County Retirement System

      City of New Orleans Employees’                 Office of the New Mexico Attorney General
       Retirement System                               and several of its Retirement Systems

      Connecticut Retirement Plans & Trust           Public Employees' Retirement System of
       Funds                                           Mississippi

      Division of Investment of the New              Public Employee Retirement System of Idaho
       Jersey Department of the Treasury

      Genesee County Employees’                      Rhode Island State Investment Commission
       Retirement System

      Illinois Municipal Retirement Fund             Santa Barbara County Employees’ Retirement
                                                       System

      Indiana Public Retirement System               State of Oregon Public Employees’ Retirement
                                                       System

      Los Angeles County Employees                   State of Wisconsin Investment Board
       Retirement Association

      Macomb County Employees                        Utah Retirement Systems
       Retirement System

      Metropolitan Atlanta Rapid Transit             Virginia Retirement System
       Authority

      Michigan Retirement Systems                    West Virginia Investment Management Board




                                                                                                      9
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 13 of 43 Page ID
                                    #:5076




Awards and Accolades
Industry publications and peer rankings consistently recognize the Firm as a respected leader in securities
litigation.



Chambers & Partners USA
Leading Plaintiffs Securities Litigation Firm (2009-2019)

        effective and greatly respected…a bench of partners who are highly esteemed by
        competitors and adversaries alike



The Legal 500
Leading Plaintiffs Securities Litigation Firm and also recognized in Antitrust (2010-2019) and M&A Litigation
(2013, 2015-2019)

        'Superb' and 'at the top of its game.' The Firm's team of 'hard-working lawyers,
        who push themselves to thoroughly investigate the facts' and conduct 'very
        diligent research.'



Benchmark Litigation
Recommended in Securities Litigation Nationwide and in New York State (2012-2020); and Noted for
Corporate Governance and Shareholder Rights Litigation in the Delaware Court of Chancery (2016-2020),
Top 10 Plaintiffs Firm in the United States (2017-2020)

        clearly living up to its stated mission 'reputation matters'...consistently earning
        mention as a respected litigation-focused firm fighting for the rights of
        institutional investors



Law360
Most Feared Plaintiffs Firm (2013-2015); Class Action Practice Group of the Year (2012 and
2014-2018); and Securities Practice Group of the Year (2018)

        known for thoroughly investigating claims and conducting due diligence before
        filing suit, and for fighting defendants tooth and nail in court



The National Law Journal
Winner of the Elite Trial Lawyers Award in Securities Law (2015, 2019), Hall of Fame Honoree, and Top
Plaintiffs’ Firm on the annual Hot List (2006-2016)

        definitely at the top of their field on the plaintiffs’ side
                                                                                                                10
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 14 of 43 Page ID
                                    #:5077




Community Involvement
To demonstrate our deep commitment to the community, Labaton Sucharow has devoted significant resources
to pro bono legal work and public and community service.

Firm Commitments
Immigration Justice Campaign

Labaton Sucharow has partnered with the Immigration Justice Campaign to represent immigrants in their
asylum proceedings.

Brooklyn Law School Securities Arbitration Clinic

Labaton Sucharow partnered with Brooklyn Law School to establish a securities arbitration clinic. The program,
which ran for five years, assisted defrauded individual investors who could not otherwise afford to pay for legal
counsel and provided students with real-world experience in securities arbitration and litigation. Former
Partners Mark S. Arisohn and Joel H. Bernstein led the program as adjunct professors.

Change for Kids

Labaton Sucharow supports Change for Kids (CFK) as a Strategic Partner of P.S. 182 in East Harlem. One
school at a time, CFK rallies communities to provide a broad range of essential educational opportunities at
under-resourced public elementary schools. By creating inspiring learning environments at our partner schools,
CFK enables students to discover their unique strengths and develop the confidence to achieve.

The Lawyers’ Committee for Civil Rights Under Law
Edward Labaton, Member, Board of Directors

The Firm is a long-time supporter of The Lawyers’ Committee for Civil rights Under Law, a nonpartisan,
nonprofit organization formed in 1963 at the request of President John F. Kennedy. The Lawyers’ Committee
involves the private bar in providing legal services to address racial discrimination.

Labaton Sucharow attorneys have contributed on the federal level to U.S. Supreme Court nominee analyses
(analyzing nominees for their views on such topics as ethnic equality, corporate diversity, and gender
discrimination) and national voters’ rights initiatives.

Sidney Hillman Foundation

Labaton Sucharow supports the Sidney Hillman Foundation. Created in honor of the first president of the
Amalgamated Clothing Workers of America, Sidney Hillman, the foundation supports investigative and
progressive journalism by awarding monthly and yearly prizes. Partner Thomas A. Dubbs is frequently invited
to present these awards.




                                                                                                              11
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 15 of 43 Page ID
                                    #:5078



Individual Attorney Commitments
Labaton Sucharow attorneys give of themselves in many ways, both by volunteering and in leadership positions
in charitable organizations. A few of the awards our attorneys have received or organizations they are involved
in are:

       Awarded “Champion of Justice” by the Alliance for Justice, a national nonprofit association of over
        100 organizations which represent a broad array of groups “committed to progressive values and the
        creation of an equitable, just, and free society.”

       Pro bono representation of mentally ill tenants facing eviction, appointed as guardian ad litem in
        several housing court actions.

       Recipient of a Volunteer and Leadership Award from a tenants' advocacy organization for work
        defending the rights of city residents and preserving their fundamental sense of public safety and
        home.

       Board Member of the Ovarian Cancer Research Fund—the largest private funding agency of its kind
        supporting research into a method of early detection and, ultimately, a cure for ovarian cancer.

Our attorneys have also contributed to or continue to volunteer with the following charitable organizations,
among others:


       American Heart Association                          Legal Aid Society

       Big Brothers/Big Sisters of New York City           Mentoring USA

       Boys and Girls Club of America                      National Lung Cancer Partnership

       Carter Burden Center for the Aging                  National MS Society

       City Harvest                                        National Parkinson Foundation

       City Meals-on-Wheels                                New York Cares

       Coalition for the Homeless                          New York Common Pantry

       Cycle for Survival                                  Peggy Browning Fund

       Cystic Fibrosis Foundation                          Sanctuary for Families

       Dana Farber Cancer Institute                        Sandy Hook School Support Fund

       Food Bank for New York City                         Save the Children

       Fresh Air Fund                                      Special Olympics

       Habitat for Humanity                                Toys for Tots

       Lawyers Committee for Civil Rights                  Williams Syndrome Association




                                                                                                               12
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 16 of 43 Page ID
                                    #:5079




Commitment to Diversity
Recognizing that business does not always offer equal opportunities for advancement and collaboration to
women, Labaton Sucharow launched its Women’s Networking and Mentoring Initiative in 2007.

Led by Firm partners and co-chairs Serena P. Hallowell and Carol C. Villegas, the Women’s Initiative reflects
our commitment to the advancement of women professionals. The goal of the Initiative is to bring professional
women together to collectively advance women’s influence in business. Each event showcases a successful
woman role model as a guest speaker. We actively discuss our respective business initiatives and hear the
guest speaker’s strategies for success. Labaton Sucharow mentors young women inside and outside of the firm
and promotes their professional achievements. The Firm also is a member of the National Association of
Women Lawyers (NAWL). For more information regarding Labaton Sucharow’s Women’s Initiative, please visit
www.labaton.com/en/about/women/Womens-Initiative.cfm.

Further demonstrating our commitment to diversity in the legal profession and within our Firm, in 2006, we
established the Labaton Sucharow Minority Scholarship and Internship. The annual award—a grant and a
summer associate position—is presented to a first-year minority student who is enrolled at a metropolitan New
York law school and who has demonstrated academic excellence, community commitment, and personal
integrity.

Labaton Sucharow has also instituted a diversity internship which brings two Hunter College students to work
at the Firm each summer. These interns rotate through various departments, shadowing Firm partners and
getting a feel for the inner workings of the Firm.




                                                                                                           13
   Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 17 of 43 Page ID
                                     #:5080




Securities Litigation Attorneys
Our team of securities class action litigators includes:

Partners                                               Of Counsel
Christopher J. Keller (Chairman)                       Rachel A. Avan
Lawrence A. Sucharow (Chairman Emeritus)               Mark Bogen
Eric J. Belfi                                          Jeffrey A. Dubbin
Michael P. Canty                                       Joseph H. Einstein
Marisa N. DeMato                                       John J. Esmay
Thomas A. Dubbs                                        Derrick Farrell
Christine M. Fox                                       Alfred L. Fatale III
Jonathan Gardner                                       Mark Goldman
David J. Goldsmith                                     Lara Goldstone
Serena P. Hallowell                                    James McGovern
Thomas G. Hoffman, Jr.                                 Mark D. Richardson
James W. Johnson                                       Elizabeth Rosenberg
Edward Labaton
Francis P. McConville
Domenico Minerva
Corban S. Rhodes
Michael H. Rogers
Ira A. Schochet
David J. Schwartz
Irina Vasilchenko
Carol C. Villegas
Ned Weinberger
Mark S. Willis
Nicole M. Zeiss




Detailed biographies of the team’s qualifications and accomplishments follow.




                                                                                   14
   Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 18 of 43 Page ID
                                     #:5081



Christopher J. Keller, Chairman
ckeller@labaton.com

Christopher J. Keller focuses on complex securities litigation. His clients are institutional investors, including
some of the world's largest public and private pension funds with tens of billions of dollars under management.

Described by The Legal 500 as a “sharp and tenacious advocate” who “has his pulse on the trends,” Chris has
been instrumental in the Firm’s appointments as lead counsel in some of the largest securities matters arising
out of the financial crisis, such as actions against Countrywide ($624 million settlement), Bear Stearns
($275 million settlement with Bear Stearns Companies, plus a $19.9 million settlement with Deloitte & Touche
LLP, Bear Stearns' outside auditor), Fannie Mae ($170 million settlement), and Goldman Sachs.

Chris has also been integral in the prosecution of traditional fraud cases such as In re Schering-Plough
Corporation / ENHANCE Securities Litigation; In re Massey Energy Co. Securities Litigation, where the Firm
obtained a $265 million all-cash settlement with Alpha Natural Resources, Massey’s parent company; as well as
In re Satyam Computer Services, Ltd. Securities Litigation, where the Firm obtained a settlement of more than
$150 million. Chris was also a principal litigator on the trial team of In re Real Estate Associates Limited
Partnership Litigation. The six-week jury trial resulted in a $184 million plaintiffs’ verdict, one of the largest jury
verdicts since the passage of the Private Securities Litigation Reform Act.

In addition to his active caseload, Chris holds a variety of leadership positions within the Firm, including serving
on the Firm's Executive Committee. In response to the evolving needs of clients, Chris also established, and
currently leads, the Case Development Group, which is composed of attorneys, in-house investigators, financial
analysts, and forensic accountants. The group is responsible for evaluating clients' financial losses and
analyzing their potential legal claims both in and outside of the U.S. and tracking trends that are of potential
concern to investors.

Educating institutional investors is a significant element of Chris’ advocacy efforts for shareholder rights. He is
regularly called upon for presentations on developing trends in the law and new case theories at annual
meetings and seminars for institutional investors.

He is a member of several professional groups, including the New York State Bar Association and the New
York County Lawyers’ Association. In 2017, he was elected to the New York City Bar Fund Board of Directors.
The City Bar Fund is the nonprofit 501(c)(3) arm of the New York City Bar Association aimed at engaging and
supporting the legal profession in advancing social justice.”

He is admitted to practice in the States of New York and Ohio, as well as before the Supreme Court of the
United States, and the United States District Courts for the Southern and Eastern Districts of New York, the
Eastern District of Wisconsin, and the District of Colorado.

Lawrence A. Sucharow, Chairman Emeritus
lsucharow@labaton.com

With more than four decades of experience, Lawrence A. Sucharow is an internationally recognized trial lawyer
and a leader of the class action bar. Under his guidance, the Firm has grown into and earned its position as one
of the top plaintiffs securities and antitrust class action firms in the world. As Chairman Emeritus, Larry focuses
on counseling the Firm’s large institutional clients, developing creative and compelling strategies to advance
and protect clients’ interests, and the prosecution and resolution of many of the Firm’s leading cases.

Over the course of his career, Larry has prosecuted hundreds of cases and the Firm has recovered billions in
groundbreaking securities, antitrust, business transaction, product liability, and other class actions. In fact, a
landmark case tried in 2002—In re Real Estate Associates Limited Partnership Litigation—was the very first
securities action successfully tried to a jury verdict following the enactment of the Private Securities Litigation



                                                                                                                    15
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 19 of 43 Page ID
                                    #:5082


Reform Act (PSLRA). Experience such as this has made Larry uniquely qualified to evaluate and successfully
prosecute class actions.

Other representative matters include: In re CNL Resorts, Inc. Securities Litigation ($225 million settlement);
In re Paine Webber Incorporated Limited Partnerships Litigation ($200 million settlement); In re Prudential
Securities Incorporated Limited Partnerships Litigation ($110 million partial settlement); In re Prudential Bache
Energy Income Partnerships Securities Litigation ($91 million settlement) and Shea v. New York Life Insurance
Company (over $92 million settlement).

Larry’s consumer protection experience includes leading the national litigation against the tobacco companies
in Castano v. American Tobacco Co., as well as litigating In re Imprelis Herbicide Marketing, Sales Practices
and Products Liability Litigation. Currently, he plays a key role in In re Takata Airbag Products Liability
Litigation and a nationwide consumer class action against Volkswagen Group of America, Inc., arising out of
the wide-scale fraud concerning Volkswagen’s “Clean Diesel” vehicles. Larry further conceptualized the
establishment of two Dutch foundations, or “Stichtingen” to pursue settlement of claims against Volkswagen
on behalf of injured car owners and investors in Europe.

In recognition of his career accomplishments and standing in the securities bar at the Bar, Larry was selected
by Law360 as one the 10 Most Admired Securities Attorneys in the United States and as a Titan of the Plaintiffs
Bar. Further, he is one of a small handful of plaintiffs' securities lawyers in the United States recognized by
Chambers & Partners USA, The Legal 500, Benchmark Litigation, and Lawdragon 500 for his successes in
securities litigation. Referred to as a “legend” by his peers in Benchmark Litigation, Chambers describes him as
an “an immensely respected plaintiff advocate” and a “renowned figure in the securities plaintiff world…[that]
has handled some of the most high-profile litigation in this field.” According to The Legal 500, clients
characterize Larry as a “a strong and passionate advocate with a desire to win.” In addition, Brooklyn Law
School honored Larry with the 2012 Alumni of the Year Award for his notable achievements in the field.

In 2018, Larry was appointed to serve on Brooklyn Law School's Board of Trustees. He has served a two-year
term as President of the National Association of Shareholder and Consumer Attorneys, a membership
organization of approximately 100 law firms that practice complex civil litigation including class actions. A
longtime supporter of the Federal Bar Council, Larry serves as a trustee of the Federal Bar Council Foundation.
He is a member of the Federal Bar Council’s Committee on Second Circuit Courts, and the Federal Courts
Committee of the New York County Lawyers’ Association. He is also a member of the Securities Law
Committee of the New Jersey State Bar Association and was the Founding Chairman of the Class Action
Committee of the Commercial and Federal Litigation Section of the New York State Bar Association, a position
he held from 1988-1994. In addition, Larry serves on the Advocacy Committee of the World Federation of
Investors Corporation, a worldwide umbrella organization of national shareholder associations. In 2019, Larry
was honored with the National Law Journal's Elite Trial Lawyers Lifetime Achievement Award. In May 2013,
Larry was elected Vice Chair of the International Financial Litigation Network, a network of law firms from 15
countries seeking international solutions to cross-border financial problems.

Larry is admitted to practice in the States of New York, New Jersey, and Arizona as well as before the
Supreme Court of the United States, the United States Court of Appeals for the Second Circuit, and the United
States District Courts for the Southern and Eastern Districts of New York, and the District of New Jersey.

Eric J. Belfi, Partner
ebelfi@labaton.com

Representing many of the world’s leading pension funds and other institutional investors, Eric J. Belfi is an
accomplished litigator with experience in a broad range of commercial matters. Eric focuses on domestic and
international securities and shareholder litigation, as well as direct actions on behalf of governmental entities.
He serves as a member of the Firm’s Executive Committee.




                                                                                                                 16
   Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 20 of 43 Page ID
                                     #:5083


As an integral member of the Firm’s Case Development Group, Eric has brought numerous high-profile
domestic securities cases that resulted from the credit crisis, including the prosecution against Goldman Sachs.
In In re Goldman Sachs Group, Inc. Securities Litigation, he played a significant role in the investigation and
drafting of the operative complaint. Eric was also actively involved in securing a combined settlement of
$18.4 million in In re Colonial BancGroup, Inc. Securities Litigation, regarding material misstatements and
omissions in SEC filings by Colonial BancGroup and certain underwriters.

Along with his domestic securities litigation practice, Eric leads the Firm’s Non-U.S. Securities Litigation
Practice, which is dedicated exclusively to analyzing potential claims in non-U.S. jurisdictions and advising on
the risk and benefits of litigation in those forums. The practice, one of the first of its kind, also serves as liaison
counsel to institutional investors in such cases, where appropriate. Currently, Eric represents nearly 30
institutional investors in over a dozen non-U.S. cases against companies including SNC-Lavalin Group Inc. in
Canada, Vivendi Universal, S.A. in France, OZ Minerals Ltd. in Australia, Lloyds Banking Group in the UK, and
Olympus Corporation in Japan.

Eric’s international experience also includes securing settlements on behalf of non-U.S. clients including the
UK-based Mineworkers’ Pension Scheme in In re Satyam Computer Securities Services Ltd. Securities
Litigation, an action related to one of the largest securities fraud in India which resulted in $150.5 million in
collective settlements. Representing two of Europe’s leading pension funds, Deka Investment GmbH and Deka
International S.A., Luxembourg, in In re General Motors Corp. Securities Litigation, Eric was integral in securing
a $303 million settlement in a case regarding multiple accounting manipulations and overstatements by
General Motors.

Additionally, Eric oversees the Financial Products and Services Litigation Practice, focusing on individual
actions against malfeasant investment bankers, including cases against custodial banks that allegedly
committed deceptive practices relating to certain foreign currency transactions. Most recently, he served as
lead counsel to Arkansas Teacher Retirement System in a class action against State Street Corporation and
certain affiliated entities alleging misleading actions in connection with foreign currency exchange trades,
which resulted in a $300 million recovery. He has also represented the Commonwealth of Virginia in its False
Claims Act case against Bank of New York Mellon, Inc.

Eric’s M&A and derivative experience includes noteworthy cases such as In re Medco Health Solutions Inc.
Shareholders Litigation, in which he was integrally involved in the negotiation of the settlement that included a
significant reduction in the termination fee.

Eric’s prior experience included serving as an Assistant Attorney General for the State of New York and as an
Assistant District Attorney for the County of Westchester. As a prosecutor, Eric investigated and prosecuted
white-collar criminal cases, including many securities law violations. He presented hundreds of cases to the
grand jury and obtained numerous felony convictions after jury trials.

Eric is a member of the National Association of Public Pension Attorneys (NAPPA) Securities Litigation Working
Group. He has spoken on the topics of shareholder litigation and U.S.-style class actions in European countries
and has discussed socially responsible investments for public pension funds.

Eric is admitted to practice in the State of New York, as well as before the United States Court of Appeals for
the Tenth Circuit, and the United States District Courts for the Southern and Eastern Districts of New York, the
Eastern District of Michigan, the District of Colorado, the District of Nebraska, and the Eastern District of
Wisconsin.

Michael P. Canty, Partner
mcanty@labaton.com

Michael P. Canty prosecutes complex fraud cases on behalf of institutional investors and consumers. Upon
joining Labaton, Michael successfully prosecuted a number of high profile securities matters involving


                                                                                                                     17
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 21 of 43 Page ID
                                    #:5084


technology companies including cases against AMD, a multi-national semiconductor company and Ubiquiti
Networks, Inc., a global software company. In both cases Michael played a pivotal role in securing favorable
settlements for investors. Recommended by The Legal 500 in the field of securities litigation, Michael also is
an accomplished litigator with more than a decade of trial experience in matters relating to national security,
white collar crime, and cybercrime. He currently serves as General Counsel to the Firm.

Prior to joining Labaton Sucharow, Michael was a federal prosecutor in the United States Attorney’s Office for
the Eastern District of New York, where he served as the Deputy Chief of the Office’s General Crimes Section.
Michael also served in the Office’s National Security and Cybercrimes Section. During his time as lead
prosecutor, Michael investigated and prosecuted complex and high-profile white collar, national security, and
cybercrime offenses. He also served as an Assistant District Attorney for the Nassau County District Attorney’s
Office, where he handled complex state criminal offenses and served in the Office’s Homicide Unit.

Michael has extensive trial experience both from his days as a prosecutor in New York City for the United
States Department of Justice and during his six years as an Assistant District Attorney. He served as trial
counsel in more than 35 matters, many of which related to violent crime, white collar and terrorism related
offenses. He played a pivotal role in United States v. Abid Naseer, where he prosecuted and convicted an al-
Qaeda operative who conspired to carry out attacks in the United States and Europe. Michael also led the
investigation in United States v. Marcos Alonso Zea, a case in which he successfully prosecuted a citizen for
attempting to join a terrorist organization in the Arabian Peninsula and for providing material support intended
for planned attacks.

Michael also has a depth of experience investigating and prosecuting cases involving the distribution of
prescription opioids. In January 2012, Michael was assigned to the U.S. Attorney's Office Prescription Drug
Initiative to mount a comprehensive response to what the United States Department of Health and Human
Services’ Center for Disease Control and Prevention has called an epidemic increase in the abuse of so-called
opioid analgesics. As a member of the initiative, in United States. v. Conway and United States v. Deslouches
Michael successfully prosecuted medical professionals who were illegally prescribing opioids. In United States
v. Moss et al. he was responsible for dismantling one of the largest oxycodone rings operating in the New York
metropolitan area at the time. In addition to prosecuting these cases, Michael spoke regularly to the
community on the dangers of opioid abuse as part of the Office’s community outreach.

Additionally, Michael has extensive experience in investigating and prosecuting data breach cases

Before becoming a prosecutor, Michael worked as a Congressional Staff Member for the United States House
of Representatives. He primarily served as a liaison between the Majority Leader’s Office and the Government
Reform and Oversight Committee. During his time with the House of Representatives, Michael managed
congressional oversight of the United States Postal Service and reviewed and analyzed counter-narcotics
legislation as it related to national security matters.

Michael is admitted to practice in the State of New York as well as before the United States Courts of Appeals
for the Second Circuit, and the United States District Court for the Eastern District of New York.

Marisa N. DeMato, Partner
mdemato@labaton.com

With more than 15 years of securities litigation experience, Marisa N. DeMato advises leading pension funds
and other institutional investors in the United States and Canada on issues related to corporate fraud in the
U.S. securities markets and represents them in complex civil actions. Her work focuses on counseling clients on
best practices in corporate governance of publicly traded companies and advising institutional investors on
monitoring the well-being of their investments. Marisa also advises and counsels municipalities and health
plans on issues related to U.S. antitrust law and potential violations.




                                                                                                              18
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 22 of 43 Page ID
                                    #:5085


Recently, Marisa represented Seattle City Employees' Retirement System and helped reach a $90 million
derivative settlement and historic corporate governance changes with Twenty-First Century Fox, Inc.,
regarding allegations surrounding workplace harassment incidents at Fox News. Marisa also represented the
Oklahoma Firefighters Pension and Retirement System in securing an $11 million settlement with Rent-A-
Center, Inc. to resolve claims that the company made false and misleading statements regarding its point of
sale information management system. She also served as legal adviser to the West Palm Beach Police Pension
Fund in In re Walgreen Co. Derivative Litigation, which secured significant corporate governance reforms and
required Walgreens to extend its Drug Enforcement Agency commitments as part of the settlement related to
the company’s violation of the U.S. Controlled Substances Act.

Prior to joining Labaton Sucharow, Marisa worked for a nationally recognized securities litigation firm and
devoted a substantial portion of her time to litigating securities fraud, derivative, mergers and acquisitions,
and consumer fraud. Over the course of those eight years she represented numerous pension funds,
municipalities, and individual investors throughout the United States and was an integral member of the legal
teams that helped secure multimillion dollar settlements, including In re Managed Care Litigation ($135 million
recovery); Cornwell v. Credit Suisse Group ($70 million recovery); Michael v. SFBC International, Inc. ($28.5
million recovery); Ross v. Career Education Corporation ($27.5 million recovery); and Village of Dolton v. Taser
International Inc. ($20 million recovery).

Marisa has spoken on shareholder litigation-related matters, frequently lecturing on topics pertaining to
securities fraud litigation, fiduciary responsibility, and corporate governance issues. Most recently, she testified
before the Texas House of Representatives Pensions Committee to address the changing legal landscape
public pensions have faced since the Supreme Court’s Morrison decision and highlighted the best practices for
non-U.S. investment recovery. During the 2008 financial crisis, Marisa spoke widely on the subprime mortgage
crisis and its disastrous effect on the pension fund community at regional and national conferences, and
addressed the crisis’ global implications and related fraud to institutional investors internationally in Italy,
France, and the United Kingdom. Marisa has also presented on issues pertaining to the federal regulatory
response to the 2008 crisis, including implications of the Dodd-Frank legislation and the national debate on
executive compensation and proxy access for shareholders.

Marisa is an active member of the National Association of Public Pension Attorneys (NAPPA) and the National
Association of Securities Professionals (NASP). She is also a member of the Federal Bar Council, an
organization of lawyers dedicated to promoting excellence in federal practice and fellowship among federal
practitioners.

Marisa has also become one of the leading advocates for institutional investing in women and minority-owned
investment firms. In 2018, she served as co-chair of the Firm’s first annual Women’s Initiative forum focusing on
institutional investing in women and minority-owned investment firms. Marisa was instrumental in the
development and execution of the programming for the inaugural event, which featured two all-female panels,
and was praised by attendees for offering an insightful discussion on how pension funds and other institutional
investors can provide opportunities for women and minority-owned firms.

In the spring of 2006, Marisa was selected over 250,000 applicants to appear on the sixth season of The
Apprentice, which aired on January 7, 2007, on NBC. As a result of her role on The Apprentice, Marisa has
appeared in numerous news media outlets, such as The Wall Street Journal, People magazine, and various
national legal journals.

Marisa is admitted to practice in the State of Florida and the District of Columbia as well as before the United
States District Courts for the Northern, Middle, and Southern Districts of Florida.




                                                                                                                 19
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 23 of 43 Page ID
                                    #:5086



Thomas A. Dubbs, Partner
tdubbs@labaton.com

Thomas A. Dubbs focuses on the representation of institutional investors in domestic and multinational
securities cases. Recognized as a leading securities class action attorney, Tom has been named as a top
litigator by Chambers & Partners for nine consecutive years.

Tom has served or is currently serving as lead or co-lead counsel in some of the most important federal
securities class actions in recent years, including those against American International Group, Goldman Sachs,
the Bear Stearns Companies, Facebook, Fannie Mae, Broadcom, and WellCare. Tom has also played an integral
role in securing significant settlements in several high-profile cases including: In re American International
Group, Inc. Securities Litigation (settlements totaling more than $1 billion); In re Bear Stearns Companies, Inc.
Securities Litigation ($275 million settlement with Bear Stearns Companies, plus a $19.9 million settlement with
Deloitte & Touche LLP, Bear Stearns' outside auditor); In re HealthSouth Securities Litigation ($671 million
settlement); Eastwood Enterprises LLC v. Farha et al. (WellCare Securities Litigation) (over $200 million
settlement); In re Fannie Mae 2008 Securities Litigation ($170 million settlement); In re Broadcom Corp.
Securities Litigation ($160.5 million settlement with Broadcom, plus $13 million settlement with Ernst & Young
LLP, Broadcom's outside auditor); In re St. Paul Travelers Securities Litigation ($144.5 million settlement); In re
Amgen Inc. Securities Litigation ($95 million settlement); and In re Vesta Insurance Group, Inc. Securities
Litigation ($79 million settlement).

Representing an affiliate of the Amalgamated Bank, the largest labor-owned bank in the United States, a team
led by Tom successfully litigated a class action against Bristol-Myers Squibb, which resulted in a settlement of
$185 million as well as major corporate governance reforms. He has argued before the United States Supreme
Court and has argued 10 appeals dealing with securities or commodities issues before the United States
Courts of Appeals.

Due to his reputation in securities law, Tom frequently lectures to institutional investors and other groups such
as the Government Finance Officers Association, the National Conference on Public Employee Retirement
Systems, and the Council of Institutional Investors. He is a prolific author of articles related to his field, and he
recently penned “Textualism and Transnational Securities Law: A Reappraisal of Justice Scalia’s Analysis in
Morrison v. National Australia Bank,” Southwestern Journal of International Law (2014). He has also written
several columns in UK-wide publications regarding securities class action and corporate governance.

Prior to joining Labaton Sucharow, Tom was Senior Vice President & Senior Litigation Counsel for Kidder,
Peabody & Co. Incorporated, where he represented the company in many class actions, including the First
Executive and Orange County litigation and was first chair in many securities trials. Before joining Kidder, Tom
was head of the litigation department at Hall, McNicol, Hamilton & Clark, where he was the principal partner
representing Thomson McKinnon Securities Inc. in many matters, including the Petro Lewis and Baldwin-United
class actions.

In addition to his Chambers & Partners recognition, Tom was named a Leading Lawyer by The Legal 500, and
inducted into its Hall of Fame, an honor presented to only three other plaintiffs securities litigation lawyers
"who have received constant praise by their clients for continued excellence." Law360 also named him an
"MVP of the Year" for distinction in class action litigation in 2012 and 2015, and he has been recognized by
The National Law Journal, Lawdragon 500, and Benchmark Litigation as a Securities Litigation Star. Tom has
received a rating of AV Preeminent from the publishers of the Martindale-Hubbell directory.

Tom serves as a FINRA Arbitrator and is an Advisory Board Member for the Institute for Transnational
Arbitration. He is a member of the New York State Bar Association, the Association of the Bar of the City of
New York, the American Law Institute, and he is a Patron of the American Society of International Law. He was
previously a member of the Members Consultative Group for the Principles of the Law of Aggregate Litigation
and the Department of State Advisory Committee on Private International Law. Tom also serves on the Board
of Directors for The Sidney Hillman Foundation.


                                                                                                                   20
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 24 of 43 Page ID
                                    #:5087


Tom is admitted to practice in the State of New York as well as before the Supreme Court of the United
States, the United States Courts of Appeals for the Second, Third, Fourth, Ninth, and Eleventh Circuits, and
the United States District Court for the Southern District of New York.

Christine M. Fox, Partner
cfox@labaton.com

With more than 20 years of securities litigation experience, Christine M. Fox prosecutes complex securities
fraud cases on behalf of institutional investors. Christine is actively involved in litigating matters against Molina
Healthcare, Hain Celestial, Avon, Adient, AT&T, and Apple.

Christine has played a pivotal role in securing favorable settle for investors in class actions against Barrick Gold
Corporation, one of the largest gold mining companies in the world ($140 million recovery); CVS Caremark, the
nation’s largest pharmacy retail chain ($48 million recovery); Nu Skin Enterprises, a multilevel marketing
company ($47 million recovery); and Intuitive Surgical, a manufacturer of robotic-assisted technologies for
surgery ($42.5 million recovery).

Prior to joining the Firm, Christine worked at a national litigation firm focusing on securities, antitrust, and
consumer litigation in state and federal courts. She played a significant role in securing class action recoveries
in a number of high-profile securities cases, including In re Merrill Lynch & Co., Inc. Research Reports Securities
Litigation ($475 million recovery); In re Informix Corp. Securities Litigation ($136.5 million recovery); In re
Alcatel Alsthom Securities Litigation ($75 million recovery); and In re Ambac Financial Group, Inc. Securities
Litigation ($33 million recovery).

Christine received her J.D. from the University of Michigan Law School and her B.A. from Cornell University.
She is a member of the American Bar Association, the New York State Bar Association, and the Puerto Rican
Bar Association. Christine is actively involved in Labaton Sucharow’s pro bono immigration program and
recently reunited a father and child separated at the border. She is currently working on their asylum
application.

Christine is conversant in Spanish.

Christine is admitted to the practice in the State of New York as well as before the United States District
Courts for the Southern and Eastern Districts of New York.

Jonathan Gardner, Partner
jgardner@labaton.com

Jonathan Gardner serves as Head of Litigation for the Firm. With more than 28 years of experience, Jonathan
oversees all of the Firm's litigation matters, including prosecuting complex securities fraud cases on behalf of
institutional investors. He has played an integral role in securing some of the largest class action recoveries
against corporate offenders since the global financial crisis.

A Benchmark Litigation "Star" acknowledged by his peers as "engaged and strategic," Jonathan was also
named an MVP by Law360 for securing hard-earned successes in high-stakes litigation and complex global
matters. Recently, he led the Firm's team in the investigation and prosecution of In re Barrick Gold Securities
Litigation, which resulted in a $140 million recovery. Jonathan has also served as the lead attorney in several
cases resulting in significant recoveries for injured class members, including: In re Hewlett-Packard Company
Securities Litigation, resulting in a $57 million recovery; Public Employees' Retirement System of Mississippi v.
Endo International PLC, resulting in $50 million recovery; Medoff v. CVS Caremark Corporation, resulting in a
$48 million recovery; In re Nu Skin Enterprises, Inc., Securities Litigation, resulting in a $47 million recovery; In
re Intuitive Surgical Securities Litigation, resulting in a $42.5 million recovery; In re Carter's Inc. Securities
Litigation, resulting in a $23.3 million recovery against Carter's and certain of its officers as well as
PricewaterhouseCoopers, its auditing firm; In re Aeropostale Inc. Securities Litigation, resulting in a $15 million

                                                                                                                  21
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 25 of 43 Page ID
                                    #:5088


recovery; In re Lender Processing Services Inc., involving claims of fraudulent mortgage processing which
resulted in a $13.1 million recovery; and In re K-12, Inc. Securities Litigation, resulting in a $6.75 million
recovery.

Recommended and described by The Legal 500 as having the "ability to master the nuances of securities class
actions," Jonathan has led the Firm's representation of investors in many recent high-profile cases including
Rubin v. MF Global Ltd., which involved allegations of material misstatements and omissions in a Registration
Statement and Prospectus issued in connection with MF Global's IPO in 2007. In November 2011, the case
resulted in a recovery of $90 million for investors. Jonathan also represented lead plaintiff City of Edinburgh
Council as Administering Authority of the Lothian Pension Fund in In re Lehman Brothers Equity/Debt
Securities Litigation, which resulted in settlements exceeding $600 million against Lehman Brothers' former
officers and directors, Lehman's former public accounting firm as well the banks that underwrote Lehman
Brothers' offerings. In representing lead plaintiff Massachusetts Bricklayers and Masons Trust Funds in an
action against Deutsche Bank, Jonathan secured a $32.5 million recovery for a class of investors injured by the
bank's conduct in connection with certain residential mortgage-backed securities.

Jonathan has also been responsible for prosecuting several of the Firm's options backdating cases, including In
re Monster Worldwide, Inc. Securities Litigation ($47.5 million settlement); In re SafeNet, Inc. Securities
Litigation ($25 million settlement); In re Semtech Securities Litigation ($20 million settlement); and In re MRV
Communications, Inc. Securities Litigation ($10 million settlement). He also was instrumental in In re Mercury
Interactive Corp. Securities Litigation, which settled for $117.5 million, one of the largest settlements or
judgments in a securities fraud litigation based on options backdating. Jonathan also represented the
Successor Liquidating Trustee of Lipper Convertibles, a convertible bond hedge fund, in actions against the
fund's former independent auditor and a member of the fund's general partner as well as numerous former
limited partners who received excess distributions. He successfully recovered over $5.2 million for the
Successor Liquidating Trustee from the limited partners and $29.9 million from the former auditor.

He is a member of the Federal Bar Council, New York State Bar Association, and the Association of the Bar of
the City of New York.

Jonathan is admitted to practice in the State of New York as well as before the United States Court of Appeals
for the First, Sixth, Ninth, and Eleventh Circuits, and the United States District Courts for the Southern and
Eastern Districts of New York, and the Eastern District of Wisconsin.

David J. Goldsmith, Partner
dgoldsmith@labaton.com

David J. Goldsmith has nearly 20 years of experience representing public and private institutional investors in a
variety of securities and class action litigations. He has twice been recommended by The Legal 500 as part of
the Firm’s recognition as a top-tier plaintiffs firm in securities class action litigation.

A principal litigator at the Firm, David is responsible for the Firm’s appellate practice, and has briefed and
argued multiple appeals in the federal Courts of Appeals. He is presently litigating appeals in the Second and
Ninth Circuits in significant securities class actions brought against Petróleo Brasileiro S.A. — Petrobras and
Molina Healthcare, Inc.. In the Supreme Court of the United States, David recently acted as co-counsel for
AARP and AARP Foundation as amici curiae in China Agritech, Inc. v. Resh, 138 S. Ct. 1800 (2018), and as co-
counsel for a group of federal jurisdiction and securities law scholars as amici curiae in Cyan, Inc. v. Beaver
County Employees Retirement Fund, 138 S. Ct. 1061 (2018).

As a trial lawyer, David was an integral member of the team representing the Arkansas Teacher Retirement
System in a significant action alleging unfair and deceptive practices by State Street Bank in connection with
foreign currency exchange trades executed for its custodial clients. The resulting $300 million settlement is the
largest class action settlement ever reached under the Massachusetts consumer protection statute, and one of
the largest class action settlements reached in the First Circuit. David also represented the New York State


                                                                                                                 22
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 26 of 43 Page ID
                                    #:5089


Common Retirement Fund and New York City pension funds as lead plaintiffs in the landmark In re
Countrywide Financial Corp. Securities Litigation, which settled for $624 million. He has successfully
represented state and county pension funds in class actions in California state court arising from the IPOs of
technology companies, and recovered tens of millions of dollars for a large German bank and a major Irish
special-purpose vehicle in individual actions alleging fraud in connection with the sale of residential mortgage-
backed securities. David’s representation of a hedge fund and individual investors as lead plaintiffs in an action
concerning the well-publicized collapse of four Regions Morgan Keegan mutual funds led to a $62 million
settlement.

David regularly advises the Genesee County (Michigan) Employees' Retirement Commission with respect to
potential securities, shareholder, and antitrust claims, and represents the System in a major action charging a
conspiracy by some of the world’s largest banks to manipulate the U.S. Dollar ISDAfix benchmark interest rate.
This case was featured in Law360’s selection of the Firm as a Class Action Group of the Year for 2017.

In 2016, David participated in a panel moderated by Prof. Arthur Miller at the 22nd Annual Symposium of the
Institute for Law and Economic Policy, discussing changes in Rule 23 since the 1966 Amendments. David is an
active member of several professional organizations, including The National Association of Shareholder &
Consumer Attorneys (NASCAT), a membership organization of approximately 100 law firms that practice
complex civil litigation including class actions, the American Association for Justice, New York State Bar
Association, and the Association of the Bar of the City of New York.

During law school, David was Managing Editor of the Cardozo Arts & Entertainment Law Journal and served as
a judicial intern to the Honorable Michael B. Mukasey, then a United States District Judge for the Southern
District of New York.

For many years, David has been a member of AmorArtis, a renowned choral organization with a diverse
repertoire.

He is admitted to practice in the States of New York and New Jersey as well as before the United States
Courts of Appeals for the First, Second, Fourth, Fifth, Eighth, and Ninth Circuits, and the United States District
Courts for the Southern and Eastern Districts of New York, the District of New Jersey, the District of Colorado,
and the Western District of Michigan.

Serena P. Hallowell, Partner
shallowell@labaton.com

Serena P. Hallowell leads the Direct Action Litigation Practice and focuses on complex litigation, prosecuting
securities fraud cases on behalf of some of the world's largest institutional investors, including pension funds,
hedge funds, mutual funds, asset managers, and other large institutional investors. Serena also regularly
advises and/or represents institutional investors who are seeking counsel on evaluating recovery opportunities
in connection with fraud-related conduct. In addition to her active caseload, Serena serves as Co-Chair of the
Firm's Women's Networking and Mentoring Initiative and is actively involved in the Firm’s summer associate
and lateral hiring programs.

Recently, Serena was recognized as a 2019 MVP in Securities by Law360, a "Trailblazer" by The National Law
Journal, a Future Star by Benchmark Litigation, and as one of the leading lawyers in America by Lawdragon.
She has also been recommended by The Legal 500 in securities litigation, and named a Rising Star by Law360.

Currently she is prosecuting cases against Valeant Pharmaceuticals and Endo International, among others.
Recently, in Endo, the parties have announced an agreement in principle to settle the matter. Also, in Valeant,
Serena leads a team that won a significant motion in the District of New Jersey, when the court sustained
claims arising under the NJ RICO Act in direct actions filed against Valeant.




                                                                                                               23
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 27 of 43 Page ID
                                    #:5090


Serena was part of a highly skilled team that reached a $140 million settlement against one of the world's
largest gold mining companies in In re Barrick Gold Securities Litigation. Playing a principal role in
prosecuting In re Computer Sciences Corporation Securities Litigation in a "rocket docket" jurisdiction, she
helped secure a settlement of $97.5 million on behalf of lead plaintiff Ontario Teachers' Pension Plan Board,
the third largest all cash settlement in the Fourth Circuit at the time. She was also instrumental in securing a
$48 million recovery in Medoff v. CVS Caremark Corporation, as well as a $41.5 million settlement in In re NII
Holdings, Inc. Securities Litigation. Serena also has broad appellate and trial experience.

Serena received a J.D. from Boston University School of Law, where she served as the Note Editor for the
Journal of Science & Technology Law. She earned a B.A. in Political Science from Occidental College.

Serena is a member of the New York City Bar Association, where she serves on the Securities Litigation
Committee, the Federal Bar Council, the South Asian Bar Association, the National Association of Public
Pension Attorneys (NAPPA), and the National Association of Women Lawyers (NAWL). Her pro bono work
includes representing immigrant detainees in removal proceedings for the American Immigrant Representation
Project and devoting time to the Securities Arbitration Clinic at Brooklyn Law School.

She is conversational in Urdu/Hindi.

Serena is admitted to practice in the State of New York, as well as before the United States Courts of Appeals
for the First, Ninth, and Eleventh Circuits, and the United States District Courts for the Southern and Eastern
Districts of New York.

Thomas G. Hoffman, Jr., Partner
thoffman@labaton.com

Thomas G. Hoffman, Jr. focuses on representing institutional investors in complex securities actions.

Thomas was instrumental in securing a $1 billion recovery in the eight-year litigation against AIG and related
defendants. He also was a key member of the Labaton Sucharow team that recovered $170 million for
investors in In re 2008 Fannie Mae Securities Litigation. Currently, Thomas is prosecuting cases against BP and
Allstate.

Thomas received a J.D. from UCLA School of Law, where he was Editor-in-Chief of the UCLA Entertainment
Law Review, and he served as a Moot Court Executive Board Member. In addition, he was a judicial extern to
the Honorable William J. Rea, United States District Court for the Central District of California. Thomas earned
a B.F.A., with honors, from New York University.

Thomas is admitted to practice in the State of New York as well as before the United States District Courts for
the Southern and Eastern Districts of New York.

James W. Johnson, Partner
jjohnson@labaton.com

James W. Johnson focuses on complex securities fraud cases. In representing investors who have been
victimized by securities fraud and breaches of fiduciary responsibility, Jim's advocacy has resulted in record
recoveries for wronged investors. Currently, he is prosecuting high-profile cases against financial industry
leader Goldman Sachs in In re Goldman Sachs Group, Inc., Securities Litigation, and SCANA, an energy-based
holding company, in In re SCANA Securities Litigation. In addition to his active caseload, Jim holds a variety of
leadership positions within the Firm, including serving on the Firm’s Executive Committee. He also serves as
the Firm’s Executive Partner overseeing firmwide issues.

A recognized leader in his field, Jim has successfully litigated a number of complex securities and RICO class
actions including: In re Bear Stearns Companies, Inc. Securities Litigation ($275 million settlement with Bear

                                                                                                                 24
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 28 of 43 Page ID
                                    #:5091


Stearns Companies, plus a $19.9 million settlement with Deloitte & Touche LLP, Bear Stearns' outside
auditor); In re HealthSouth Corp. Securities Litigation ($671 million settlement); Eastwood Enterprises LLC v.
Farha et al. (WellCare Securities Litigation) ($200 million settlement); In re Bristol Myers Squibb Co. Securities
Litigation ($185 million settlement), in which the court also approved significant corporate governance reforms
and recognized plaintiff's counsel as "extremely skilled and efficient"; In re Amgen Inc. Securities Litigation
($95 million settlement); In re National Health Laboratories, Inc. Securities Litigation, which resulted in a
recovery of $80 million in the federal action and a related state court derivative action; and In re Vesta
Insurance Group, Inc. Securities Litigation ($79 million settlement).

In County of Suffolk v. Long Island Lighting Co., Jim represented the plaintiff in a RICO class action, securing a
jury verdict after a two-month trial that resulted in a $400 million settlement. The Second Circuit quoted the
trial judge, Honorable Jack B. Weinstein, as stating "counsel [has] done a superb job [and] tried this case as
well as I have ever seen any case tried." On behalf of the Chugach Native Americans, he also assisted in
prosecuting environmental damage claims resulting from the Exxon Valdez oil spill.

Jim is a member of the American Bar Association and the Association of the Bar of the City of New York,
where he served on the Federal Courts Committee, and he is a Fellow in the Litigation Council of America.

Jim has received a rating of AV Preeminent from the publishers of the Martindale-Hubbell directory.

He is admitted to practice in the States of New York and Illinois as well as before the Supreme Court of the
United States, the United States Courts of Appeals for the Second, Third, Fourth, Fifth, Seventh, and Eleventh
Circuits, and the United States District Courts for the Southern, Eastern, and Northern Districts of New York,
and the Northern District of Illinois.

Edward Labaton, Partner
elabaton@labaton.com

An accomplished trial lawyer and partner with the Firm, Edward Labaton has devoted 50 years of practice to
representing a full range of clients in class action and complex litigation matters in state and federal court. He
is the recipient of the Alliance for Justice’s 2015 Champion of Justice Award, given to outstanding individuals
whose life and work exemplifies the principle of equal justice.

Ed has played a leading role as plaintiffs' class counsel in a number of successfully prosecuted, high-profile
cases, involving companies such as PepsiCo, Dun & Bradstreet, Financial Corporation of America, ZZZZ Best,
Revlon, GAF Co., American Brands, Petro Lewis and Jim Walter, as well as several Big Eight (now Four)
accounting firms. He has also argued appeals in state and federal courts, achieving results with important
precedential value.

Ed has been President of the Institute for Law and Economic Policy (ILEP) since its founding in 1996. Each year,
ILEP co-sponsors at least one symposium with a major law school dealing with issues relating to the civil justice
system. In 2010, he was appointed to the newly formed Advisory Board of George Washington University's
Center for Law, Economics, & Finance (C-LEAF), a think tank within the Law School, for the study and debate
of major issues in economic and financial law confronting the United States and the globe. Ed is an Honorary
Lifetime Member of the Lawyers’ Committee for Civil Rights under Law, a member of the American Law
Institute, and a life member of the ABA Foundation. In addition, he has served on the Executive Committee
and has been an officer of the Ovarian Cancer Research Fund since its inception in 1996.

Ed is the past Chairman of the Federal Courts Committee of the New York County Lawyers Association, and
was a member of the Board of Directors of that organization. He is an active member of the Association of the
Bar of the City of New York, where he was Chair of the Senior Lawyers’ Committee and served on its Task
Force on the Role of Lawyers in Corporate Governance. He has also served on its Federal Courts, Federal
Legislation, Securities Regulation, International Human Rights, and Corporation Law Committees. He also
served as Chair of the Legal Referral Service Committee, a joint committee of the New York County Lawyers’


                                                                                                                25
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 29 of 43 Page ID
                                    #:5092


Association and the Association of the Bar of the City of New York. He has been an active member of the
American Bar Association, the Federal Bar Council, and the New York State Bar Association, where he has
served as a member of the House of Delegates.

For more than 30 years, he has lectured on many topics including federal civil litigation, securities litigation,
and corporate governance.

He is admitted to practice in the State of New York as well as before the Supreme Court of the United States,
the United States Courts of Appeals for the Second, Fifth, Sixth, Seventh, Ninth, Tenth, and Eleventh Circuits,
and the United States District Courts for the Southern and Eastern Districts of New York, and the Central
District of Illinois.

Francis P. McConville, Partner
fmcconville@labaton.com

Francis P. McConville focuses on prosecuting complex securities fraud cases on behalf of institutional investor
clients. As a lead member of the Firm's Case Development Group, he focuses on the identification,
investigation, and development of potential actions to recover investment losses resulting from violations of
the federal securities laws and various actions to vindicate shareholder rights in response to corporate and
fiduciary misconduct.

Most recently, Francis has played a key role in filing several matters on behalf of the Firm including, In re PG&E
Corporation Securities Litigation; In re SCANA Corporation Securities Litigation; Steamfitters Local 449
Pension Plan v. Skechers U.S.A., Inc.; and In re Nielsen Holdings PLC Securities Litigation.

Prior to joining Labaton Sucharow, Francis was a litigation associate at a national law firm primarily focused on
securities and consumer class action litigation. Francis has represented institutional and individual clients in
federal and state court across the country in class action securities litigation and shareholder disputes, along
with a variety of commercial litigation matters. He assisted in the prosecution of several matters, including
Kiken v. Lumber Liquidators Holdings, Inc. ($42 million recovery); Hayes v. MagnaChip Semiconductor Corp.
($23.5 million recovery); and In re Galena Biopharma, Inc. Securities Litigation ($20 million recovery).

Francis received his J.D. from New York Law School, magna cum laude, where he served as Associate
Managing Editor of the New York Law School Law Review, worked in the Urban Law Clinic, named a John
Marshall Harlan Scholar, and received a Public Service Certificate. He earned his B.A. from the University of
Notre Dame.

He is admitted to practice in the State of New York as well as in the United States District Courts for the
Southern and Eastern Districts of New York, the District of Colorado, and the Eastern District of Michigan.

Domenico Minerva, Partner
dminerva@labaton.com

Domenico “Nico” Minerva advises leading pension funds and other institutional investors on issues related to
corporate fraud in the U.S. securities markets. A former financial advisor, his work focuses on securities,
antitrust, and consumer class action litigation and shareholder derivative litigation, representing Taft-Hartley
and public pension funds across the country.

Nico’s extensive experience litigating securities cases includes those against global securities systems
company Tyco and co-defendant PricewaterhouseCoopers (In re Tyco International Ltd., Securities Litigation),
which resulted in a $3.2 billion settlement, achieving the largest single defendant settlement in post-PSLRA
history. He also has counseled companies and institutional investors on corporate governance reform.




                                                                                                                    26
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 30 of 43 Page ID
                                    #:5093


Nico has also done substantial work in antitrust class actions in pay-for-delay or “product hopping” cases in
which pharmaceutical companies allegedly obstructed generic competitors in order to preserve monopoly
profits on patented drugs, including Mylan Pharmaceuticals Inc. v. Warner Chilcott Public Limited Co., In re
Lidoderm Antitrust Litigation, In re Solodyn (MinocyclineHydrochloride) Antitrust Litigation, In re Niaspan
Antitrust Litigation, In re Aggrenox Antitrust Litigation, and Sergeants Benevolent Association Health &
Welfare Fund et al. v. Actavis PLC et al. In an anticompetitive antitrust matter, The Infirmary LLC vs. National
Football League Inc et al., Nico played a part in challenging an exclusivity agreement between the NFL and
DirectTV over the service’s “NFL Sunday Ticket” package, and he litigated on behalf of indirect purchasers of
potatoes in a case alleging that growers conspired to control and suppress the nation’s potato supply In re
Fresh and Process Potatoes Antitrust Litigation.

On behalf of consumers, Nico represented a plaintiff in In Re ConAgra Foods Inc. over its claims that Wesson-
brand vegetable oils are 100 percent natural.

An accomplished speaker, Nico has given numerous presentations to investors on a variety of topics of interest
regarding corporate fraud, wrongdoing, and waste. He is also an active member of the National Association of
Public Pension Plan Attorneys (NAPPA).

Nico obtained his J.D. from Tulane University Law School, where he also completed a two-year externship with
the Honorable Kurt D. Engelhardt of the United States District Court for the Eastern District of Louisiana. He
earned his B.S. in Business Administration from the University of Florida.

Nico is admitted to practice in the States of New York and Delaware, as well as the United States District
Courts for the Eastern and Southern Districts of New York.

Corban S. Rhodes, Partner
crhodes@labaton.com

Corban S. Rhodes focuses on prosecuting complex securities fraud cases on behalf of institutional investors, as
well as consumer data privacy litigation.

Currently, Corban represents shareholders litigating fraud-based claims against TerraVia (formerly Solazyme)
and Alexion Pharmaceuticals. He has successfully litigated dozens of cases against most of the largest Wall
Street banks in connection with their underwriting and securitization of mortgage-backed securities leading up
to the financial crisis.

Recognized as a "Rising Star" in Consumer Protection Law by Law360, Corban is also pursuing a number of
matters involving consumer data privacy, including cases of intentional misuse or misappropriation of
consumer data, and cases of negligence or other malfeasance leading to data breaches, including In re
Facebook Biometric Information Privacy Litigation and Schwartz v. Yahoo Inc.

Before joining Labaton Sucharow, Corban was an associate at Sidley Austin LLP where he practiced complex
commercial litigation and securities regulation and served as the lead associate on behalf of large financial
institutions in several investigations by regulatory and enforcement agencies related to the financial crisis.

In 2008, Corban received a Thurgood Marshall Award for his pro bono representation on a habeas petition of a
capital punishment sentence. He also later co-authored "Parmalat Judge: Fraud by Former Executives of
Bankrupt Company Bars Trustee's Claims Against Auditors," published by the American Bar Association.

Corban received a J.D., cum laude, from Fordham University School of Law, where he received the 2007
Lawrence J. McKay Advocacy Award for excellence in oral advocacy and was a board member of the Fordham
Moot Court team. He earned his B.A., magna cum laude, in History from Boston College.




                                                                                                                 27
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 31 of 43 Page ID
                                    #:5094


Corban serves on the Securities Litigation Committee of the New York City Bar Association. Additionally,
Super Lawyers, a Thomson Reuters publication, recognized Corban as a New York Metro “Rising Star,” noting
his experience and contribution to the securities litigation field.

Corban is admitted to practice in the State of New York, as well as before the United States Court of Appeals
for the Second Circuit and the United States District Courts for Southern District of New York and the Central
District of California.

Michael H. Rogers, Partner
mrogers@labaton.com

Michael H. Rogers focuses on prosecuting complex securities fraud cases on behalf of institutional investors.
Currently, Mike is actively involved in prosecuting In re Goldman Sachs, Inc. Securities Litigation; 3226701
Canada, Inc. v. Qualcomm, Inc.; In re SCANA Securities Litigation, Murphy v. Precision Castparts Corp.; and
Vancouver Asset Alumni Holdings, Inc. v. Daimler AG.

Since joining Labaton Sucharow, Mike has been a member of the lead counsel teams in federal class actions
against Countrywide Financial Corp. ($624 million settlement), HealthSouth Corp. ($671 million settlement),
State Street ($300 million settlement), Mercury Interactive Corp. ($117.5 million settlement), and Computer
Sciences Corp. ($97.5 million settlement).

Prior to joining Labaton Sucharow, Mike was an attorney at Kasowitz, Benson, Torres & Friedman LLP, where
he practiced securities and antitrust litigation, representing international banking institutions bringing federal
securities and other claims against major banks, auditing firms, ratings agencies and individuals in complex
multidistrict litigation. He also represented an international chemical shipping firm in arbitration of antitrust
and other claims against conspirator ship owners.

Mike began his career as an attorney at Sullivan & Cromwell, where he was part of Microsoft’s defense team in
the remedies phase of the Department of Justice antitrust action against the company.

Mike received a J.D., magna cum laude, from the Benjamin N. Cardozo School of Law, Yeshiva University,
where he was a member of the Cardozo Law Review. He earned a B.A., magna cum laude, in Literature-Writing
from Columbia University.

Mike is proficient in Spanish.

He is admitted to practice in the State of New York as well as before the United States Court of Appeals for
the Second and Ninth Circuits, and the United States District Courts for the Southern and Eastern Districts of
New York.

Ira A. Schochet, Partner
ischochet@labaton.com

A seasoned litigator with three decades of experience, Ira A. Schochet focuses on class actions involving
securities fraud. Ira has played a lead role in securing multimillion dollar recoveries in high-profile cases such as
those against Countrywide Financial Corporation ($624 million), Weatherford International Ltd ($120 million),
Massey Energy Company ($265 million), Caterpillar Inc. ($23 million), Autoliv Inc. ($22.5 million), and Fifth
Street Financial Corp. ($14 million).

A longtime leader in the securities class action bar, Ira represented one of the first institutional investors acting
as a lead plaintiff in a post-Private Securities Litigation Reform Act case and ultimately obtained one of the first
rulings interpreting the statute's intent provision in a manner favorable to investors in STI Classic Funds, et al.
v. Bollinger Industries, Inc. His efforts are regularly recognized by the courts, including in Kamarasy v. Coopers
& Lybrand, where the court remarked on "the superior quality of the representation provided to the class." In

                                                                                                                  28
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 32 of 43 Page ID
                                    #:5095


approving the settlement he achieved in In re InterMune Securities Litigation, the court complimented Ira's
ability to secure a significant recovery for the class in a very efficient manner, shielding the class from
prolonged litigation and substantial risk.

Ira has also played a key role in groundbreaking cases in the field of merger and derivative litigation. In In re
Freeport-McMoRan Copper & Gold Inc. Derivative Litigation, he achieved the second largest derivative
settlement in the Delaware Court of Chancery history, a $153.75 million settlement with an unprecedented
provision of direct payments to stockholders by means of a special dividend. In another first-of-its-kind case,
Ira was featured in The AmLaw Litigation Daily as Litigator of the Week for his work in In re El Paso
Corporation Shareholder Litigation. The action alleged breach of fiduciary duties in connection with a merger
transaction, including specific reference to wrongdoing by a conflicted financial advisory consultant, and
resulted in a $110 million recovery for a class of shareholders and a waiver by the consultant of its fee.

From 2009-2011, Ira served as President of the National Association of Shareholder and Consumer Attorneys
(NASCAT), a membership organization of approximately 100 law firms that practice class action and complex
civil litigation. During this time, he represented the plaintiffs' securities bar in meetings with members of
Congress, the Administration, and the SEC.

From 1996 through 2012, Ira served as Chairman of the Class Action Committee of the Commercial and
Federal Litigation Section of the New York State Bar Association. During his tenure, he has served on the
Executive Committee of the Section and authored important papers on issues relating to class action
procedure including revisions proposed by both houses of Congress and the Advisory Committee on Civil
Procedure of the United States Judicial Conference. Examples include: "Proposed Changes in Federal Class
Action Procedure"; "Opting Out On Opting In," and "The Interstate Class Action Jurisdiction Act of 1999."

He also has lectured extensively on securities litigation at continuing legal education seminars. He has also
been awarded an AV Preeminent rating, the highest distinction, from the publishers of the Martindale-Hubbell
directory.

He is admitted to practice in the State of New York as well as before the United States Court of Appeals for
the Second, Fifth, Ninth, and Tenth Circuits, and the United States District Courts for the Southern and Eastern
Districts of New York, the Central District of Illinois, the Northern District of Texas, and the Western District of
Michigan.

David J. Schwartz, Partner
dschwartz@labaton.com

David J. Schwartz’s practice focuses on event driven and special situation litigation using legal strategies to
enhance clients’ investment return.

His extensive experience includes prosecuting as well as defending against securities and corporate
governance actions for an array of institutional clients including hedge funds, merger arbitrage investors,
pension funds, mutual funds, and asset management companies. He played a pivotal role in several securities
class action cases, including against real estate service provider Altisource Portfolio Solutions, where he helped
achieve a $32 million cash settlement, and investment management firm Virtus Investment Partners, which
resulted in a $22 million settlement. David has also done substantial work in mergers and acquisitions appraisal
litigation, and direct action/opt-out litigation.

David was recently named a Future Star by Benchmark Litigation and to Benchmark’s “40 & Under Hot List,”
which recognizes him as one the nation’s most accomplished partners age 40 years and under.

David obtained his J.D. from Fordham University School of Law, where he served on the Urban Law Journal.
He received his B.A. in economics, with honors, from the University of Chicago.



                                                                                                                    29
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 33 of 43 Page ID
                                    #:5096


David is admitted to practice in the State of New York as well as before the United States District Court for the
Southern District of New York.

Irina Vasilchenko, Partner
ivasilchenko@labaton.com

Irina Vasilchenko focuses on prosecuting complex securities fraud cases on behalf of institutional investors.

Currently, Irina is actively involved in prosecuting In re Goldman Sachs Group, Inc. Securities Litigation, In re
SCANA Corporation Securities Litigation, In re Acuity Brands, Inc. Securities Litigation, and Vancouver Alumni
Asset Holdings, Inc. v. Daimler AG. Since joining Labaton Sucharow, she has been part of the Firm's teams in In
re Massey Energy Co. Securities Litigation, where the Firm obtained a $265 million all-cash settlement with
Alpha Natural Resources, Massey's parent company; In re Fannie Mae 2008 Securities Litigation ($170 million
settlement); In re Amgen Inc. Securities Litigation ($95 million settlement); and In re Hewlett-Packard Company
Securities Litigation ($57 million settlement).

Prior to joining Labaton Sucharow, Irina was an associate in the general litigation practice group at Ropes &
Gray LLP, where she focused on securities litigation.

Irina maintains a commitment to pro bono legal service including, most recently, representing an indigent
defendant in a criminal appeal case before the New York First Appellate Division, in association with the Office
of the Appellate Defender. As part of this representation, she argued the appeal before the First Department
panel. Irina is a member of the New York City Bar Association’s Women in the Courts Task Force. She also
leads Labaton Sucharow’s Associate Training Program.

Irina received a J.D., magna cum laude, from Boston University School of Law, where she was an editor of the
Boston University Law Review and was the G. Joseph Tauro Distinguished Scholar (2005), the Paul L. Liacos
Distinguished Scholar (2006), and the Edward F. Hennessey Scholar (2007). Irina earned a B.A. in Comparative
Literature with Distinction, summa cum laude and Phi Beta Kappa, from Yale University.

She is fluent in Russian and proficient in Spanish.

Irina is admitted to practice in the State of New York and the State of Massachusetts as well as before the
United States District Courts for the Southern and Eastern Districts of New York.

Carol C. Villegas, Partner
cvillegas@labaton.com

Carol C. Villegas Carol C. Villegas focuses on prosecuting complex securities fraud cases on behalf of
institutional investors. Leading one of the Firm’s litigation teams, she currently oversees litigation against
AT&T, Marriott, Nielsen Holdings, Skechers, U.S.A., Inc., Shanda Games, and Danske Bank. In addition to her
litigation responsibilities, Carol holds a variety of leadership positions within the Firm, including serving on the
Firm's Executive Committee and serving as Co-Chair of the Firm's Women's Networking and Mentoring
Initiative and as the Firm’s Chief Compliance Officer.

Carol’s skillful handling of discovery work, her development of innovative case theories in complex cases, and
her adept ability during oral argument earned her recent accolades from the New York Law Journal as a Top
Woman in Law. She has also been recognized as a Future Star Star by Benchmark Litigation and a Next
Generation Lawyer by The Legal 500, where clients praised her for helping them “better understand the
process and how to value a case.”

Carol played a pivotal role in securing favorable settlements for investors from AMD, a multi-national
semiconductor company, Liquidity Services, an online auction marketplace, Aeropostale, a leader in the
international retail apparel industry, ViroPharma Inc., a biopharmaceutical company, and Vocera, a healthcare

                                                                                                                  30
   Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 34 of 43 Page ID
                                     #:5097


communications provider. She also recently helped revive a securities class action against LifeLock after
arguing an appeal before the Ninth Circuit. A true advocate for her clients, Carol’s argument in the case
against Vocera resulted in a ruling from the bench, denying defendants’ motion to dismiss in that case.

Prior to joining Labaton Sucharow, Carol served as the Assistant District Attorney in the Supreme Court Bureau
for the Richmond County District Attorney's office, where she took several cases to trial. She began her career
as an associate at King & Spalding LLP, where she worked as a federal litigator.

Carol received a J.D. from New York University School of Law, and she was the recipient of The Irving H. Jurow
Achievement Award for the Study of Law and selected to receive the Association of the Bar of the City of New
York Minority Fellowship. Carol served as the Staff Editor, and later the Notes Editor, of the Environmental
Law Journal. She earned a B.A., with honors, in English and Politics from New York University.

Carol is a member of the National Association of Public Pension Attorneys (NAPPA), the National Association
of Women Lawyers (NAWL), the Hispanic National Bar Association, the Association of the Bar of the City of
New York, and a member of the Executive Council for the New York State Bar Association's Committee on
Women in the Law.

She is fluent in Spanish.

She is admitted to practice in the State of New York, as well as before the United States Court of Appeals for
the First, Second, Ninth, Tenth, and Eleventh Circuits, and the United States District Courts for the Southern
and Eastern Districts of New York, the District of Colorado, and the Eastern District of Wisconsin.

Ned Weinberger, Partner
nweinberger@labaton.com

Ned Weinberger is Chair of the Firm’s Corporate Governance and Shareholder Rights Litigation Practice. An
experienced advocate of shareholder rights, Ned focuses on representing investors in corporate governance
and transactional matters, including class action and derivative litigation. Ned was recognized by Chambers &
Partners USA in the Delaware Court of Chancery and was named "Up and Coming," noting his impressive
range of practice areas. He was also recently named a "Leading Lawyer" by The Legal 500 and a Future Star by
Benchmark Litigation.

Ned is currently prosecuting, among other matters, In re Straight Path Communications Inc. Consolidated
Stockholder Litigation, which alleges breaches of fiduciary duty by the controlling stockholder of Straight Path
Communications, Howard Jonas, in connection with the company’s proposed sale to Verizon Communications
Inc. He recently led a class and derivative action on behalf of stockholders of Providence Service Corporation—
Haverhill Retirement System v. Kerley—that challenged an acquisition financing arrangement involving
Providence’s board chairman and his hedge fund. The case settled for $10 million.

Ned was part of a team that achieved a $12 million recovery on behalf of stockholders of ArthroCare
Corporation in a case alleging breaches of fiduciary duty by the ArthroCare board of directors and other
defendants in connection with Smith & Nephew, Inc.’s acquisition of ArthroCare. Other recent successes on
behalf of stockholders include In re Vaalco Energy Inc. Consolidated Stockholder Litigation, which resulted in
the invalidation of charter and bylaw provisions that interfered with stockholders’ fundamental right to remove
directors without cause.

Prior to joining Labaton Sucharow, Ned was a litigation associate at Grant & Eisenhofer P.A. where he gained
substantial experience in all aspects of investor protection, including representing shareholders in matters
relating to securities fraud, mergers and acquisitions, and alternative entities. Representative of Ned's
experience in the Delaware Court of Chancery is In re Barnes & Noble Stockholders Derivative Litigation, in
which Ned assisted in obtaining approximately $29 million in settlements on behalf of Barnes & Noble
investors. Ned was also part of the litigation team in In re Clear Channel Outdoor Holdings, Inc. Shareholder


                                                                                                             31
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 35 of 43 Page ID
                                    #:5098


Litigation, the settlement of which provided numerous benefits for Clear Channel Outdoor Holdings and its
shareholders, including, among other things, a $200 million cash dividend to the company's shareholders.

Ned received his J.D. from the Louis D. Brandeis School of Law at the University of Louisville where he served
on the Journal of Law and Education. He earned his B.A. in English Literature, cum laude, at Miami University.

Ned is admitted to practice in the States of Delaware, Pennsylvania, and New York as well as before the
United States District Court for the District of Delaware.

Mark S. Willis, Partner
mwillis@labaton.com

With nearly three decades of experience, Mark S. Willis’ practice focuses on domestic and international
securities litigation. Mark advises leading pension funds, investment managers, and other institutional investors
from around the world on their legal remedies when impacted by securities fraud and corporate governance
breaches. Mark represents clients in U.S. litigation and maintains a significant practice advising clients of their
legal rights abroad to pursue securities-related claims. He has been recognized in securities litigation by The
Legal 500.

Mark represents institutions from the United Kingdom, Spain, the Netherlands, Denmark, Germany, Belgium,
Canada, Japan, and the United States in a novel lawsuit in Texas against BP plc to salvage claims that were
dismissed from the U.S. class action because the claimants’ BP shares were purchased abroad (thus running
afoul of the Supreme Court’s Morrison rule that precludes a U.S. legal remedy for such shares). These
previously dismissed claims have now been sustained and are being pursued under English law in a Texas
federal court.

Mark also represents the Utah Retirement Systems in a shareholder action against the DeVry Education Group,
and he represented the Arkansas Public Employees Retirement System in a shareholder action against The
Bancorp (which settled for $17.5 million), and Caisse de dépôt et placement du Québec, one of Canada's
largest institutional investors, in a U.S. shareholder class action against Liquidity Services (which settled for $17
million).

In the Converium class action, Mark represented a Greek institution in a nearly four-year battle that eventually
became the first U.S. class action settled on two continents. This trans-Atlantic result saw part of the
$145 million recovery approved by a federal court in New York, and the rest by the Amsterdam Court of
Appeal. The Dutch portion was resolved using the Netherlands then newly enacted Act on Collective
Settlement of Mass Claims. In doing so, the Dutch Court issued a landmark decision that substantially
broadened its jurisdictional reach, extending jurisdiction for the first time to a scenario in which the claims
were not brought under Dutch law, the alleged wrongdoing took place outside the Netherlands, and none of
the potentially liable parties were domiciled in the Netherlands.

In the corporate governance arena, Mark has represented both U.S. and overseas investors. In a shareholder
derivative action against Abbott Laboratories’ directors, he charged the defendants with mismanagement and
fiduciary breaches for causing or allowing the company to engage in a 10-year off-label marketing scheme,
which had resulted in a $1.6 billion payment pursuant to a Justice Department investigation—at the time the
second largest in history for a pharmaceutical company. In the derivative action, the company agreed to
implement sweeping corporate governance reforms, including an extensive compensation clawback provision
going beyond the requirements under the Dodd-Frank Act, as well as the restructuring of a board committee
and enhancing the role of the Lead Director. In the Parmalat case, known as the “Enron of Europe” due to the
size and scope of the fraud, Mark represented a group of European institutions and eventually recovered
nearly $100 million and negotiated governance reforms with two large European banks who, as part of the
settlement, agreed to endorse their future adherence to key corporate governance principles designed to
advance investor protection and to minimize the likelihood of future deceptive transactions. Securing



                                                                                                                  32
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 36 of 43 Page ID
                                    #:5099


governance reforms from a defendant that was not an issuer was a first at that time in a shareholder fraud class
action.

Mark has also represented clients in opt-out actions. In one, brought on behalf of the Utah Retirement
Systems, Mark negotiated a settlement that was nearly four times more than what its client would have
received had it participated in the class action.

On non-U.S. actions Mark has advised clients, and represented their interests as liaison counsel, in more than
30 cases against companies such as Volkswagen, Olympus, the Royal Bank of Scotland, the Lloyds Banking
Group, and Petrobras, and in jurisdictions ranging from the UK to Japan to Australia to Brazil to Germany.

Mark has written on corporate, securities, and investor protection issues—often with an international focus—in
industry publications such as International Law News, Professional Investor, European Lawyer, and Investment
& Pensions Europe. He has also authored several chapters in international law treatises on European corporate
law and on the listing and subsequent disclosure obligations for issuers listing on European stock exchanges.
He also speaks at conferences and at client forums on investor protection through the U.S. federal securities
laws, corporate governance measures, and the impact on shareholders of non-U.S. investor remedies.

He is admitted to practice in the State of Massachusetts and the District of Columbia, as well as the U.S.
District Court for the District of Columbia.

Nicole M. Zeiss, Partner
nzeiss@labaton.com

A litigator with nearly two decades of experience, Nicole M. Zeiss leads the Settlement Group at Labaton
Sucharow, analyzing the fairness and adequacy of the procedures used in class action settlements. Her practice
focuses on negotiating and documenting complex class action settlements and obtaining the required court
approval of the settlements, notice procedures, and payments of attorneys' fees.

Over the past decade, Nicole was actively involved in finalizing settlements with Massey Energy Company
($265 million), Fannie Mae ($170 million), and Schering-Plough ($473 million), among many others.

Nicole was part of the Labaton Sucharow team that successfully litigated the $185 million settlement in In re
Bristol-Myers Squibb Securities Litigation, and she played a significant role in In re Monster Worldwide, Inc.
Securities Litigation ($47.5 million settlement). Nicole also litigated on behalf of investors who have been
damaged by fraud in the telecommunications, hedge fund, and banking industries.

Prior to joining Labaton Sucharow, Nicole practiced in the area of poverty law at MFY Legal Services. She also
worked at Gaynor & Bass practicing general complex civil litigation, particularly representing the rights of
freelance writers seeking copyright enforcement.

Nicole maintains a commitment to pro bono legal services by continuing to assist mentally ill clients in a variety
of matters-from eviction proceedings to trust administration.

She received a J.D. from the Benjamin N. Cardozo School of Law, Yeshiva University and earned a B.A. in
Philosophy from Barnard College. Nicole is a member of the Association of the Bar of the City of New York.

She is admitted to practice in the State of New York as well as before the United States Court of Appeals for
the Second and Ninth Circuits, and the United States District Courts for the Southern and Eastern Districts of
New York, and the District of Colorado.




                                                                                                                 33
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 37 of 43 Page ID
                                    #:5100



Rachel A. Avan, Of Counsel
ravan@labaton.com

Rachel A. Avan prosecutes complex securities fraud cases on behalf of institutional investors. She focuses on
advising institutional investor clients regarding fraud-related losses on securities, and on the investigation and
development of U.S. and non-U.S. securities fraud class, group, and individual actions. Rachel manages the
Firm’s Non-U.S. Securities Litigation Practice, which is dedicated to analyzing the merits, risks, and benefits of
potential claims outside the United States. She has played a key role in ensuring that the Firm’s clients receive
substantial recoveries through non-U.S. securities litigation. In addition to her litigation responsibilities, Rachel
serves as the Firm’s Compliance Officer.

In evaluating new and potential matters, Rachel draws on her extensive experience as a securities litigator. She
was an active member of the team prosecuting the securities fraud class action against Satyam Computer
Services, Inc., in In re Satyam Computer Services Ltd. Securities Litigation, dubbed "India's Enron." That case
achieved a $150.5 million settlement for investors from the company and its auditors. She also had an
instrumental part in the pleadings in a number of class actions including, In re Barrick Gold Securities Litigation
($140 million settlement); Freedman v. Nu Skin Enterprises, Inc. ($47 million recovery); and Iron Workers
District Council of New England Pension Fund v. NII Holdings, Inc. ($41.5 million recovery).

Rachel has spearheaded the filing of more than 75 motions for lead plaintiff appointment in U.S. securities class
actions including, In re Facebook, Inc. IPO Securities & Derivative Litigation; In re Computer Sciences
Corporation Securities Litigation; In re Petrobras Securities Litigation; In re Spectrum Pharmaceuticals, Inc.
Securities Litigation; Weston v. RCS Capital Corporation; and Cummins v. Virtus Investment Partners Inc.

In addition to her securities class action litigation experience, Rachel also played a role in prosecuting several
of the Firm’s derivative matters, including In re Barnes & Noble Stockholder Derivative Litigation; In re Coca-
Cola Enterprises Inc. Shareholders Litigation; and In re The Student Loan Corporation Litigation.

Rachel brings to the Firm valuable insight into corporate matters, having served as an associate at a corporate
law firm, where she counseled domestic and international public companies regarding compliance with federal
and state securities laws. Her analysis of corporate securities filings is also informed by her previous work
assisting with the preparation of responses to inquiries by the U.S. Securities and Exchange Commission and
the Financial Industry Regulatory Authority.

Before attending Benjamin N. Cardozo School of Law, Rachel enjoyed a career in editing for a Boston-based
publishing company. She also earned a Master of Arts in English and American Literature from Boston
University.

Since 2015, Rachel has been recognized as a New York Metro "Rising Star" in securities litigation by Super
Lawyers, a Thomson Reuters publication.

She is proficient in Hebrew.

Rachel is admitted to practice in the States of New York and Connecticut as well as before the United States
District Court for the Southern District of New York.

Mark Bogen, Of Counsel
mbogen@labaton.com

Mark Bogen advises leading pension funds and other institutional investors on issues related to corporate
fraud in domestic and international securities markets. His work focuses on securities, antitrust, and consumer
class action litigation, representing Taft-Hartley and public pension funds across the country.




                                                                                                                   34
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 38 of 43 Page ID
                                    #:5101


Among his many efforts to protect his clients’ interests and maximize shareholder value, Mark recently helped
bring claims against and secure a settlement with Abbott Laboratories’ directors, whereby the company
agreed to implement sweeping corporate governance reforms, including an extensive compensation clawback
provision going beyond the requirements under the Dodd-Frank Act.

Mark has written weekly legal columns for the Sun-Sentinel, one of the largest daily newspapers circulated in
Florida. He has been legal counsel to the American Association of Professional Athletes, an association of over
4,000 retired professional athletes. He has also served as an Assistant State Attorney and as a Special Assistant
to the State Attorney’s Office in the State of Florida.

Mark obtained his J.D. from Loyola University School of Law. He received his B.A. in Political Science from the
University of Illinois.

He is admitted to practice in the States of Illinois and Florida.

Jeffrey A. Dubbin, Of Counsel
jdubbin@labaton.com

Jeffrey A. Dubbin focuses on prosecuting complex securities fraud cases on behalf of institutional investors.

Jeff joined Labaton Sucharow following clerkships with the Honorable Marilyn L. Huff and the Honorable Larry
Alan Burns in the U.S. District Court for the Southern District of California. Prior to that, he worked as legal
counsel for the investment management firm Matrix Capital Management.

Jeff received his J.D. from the University of Pennsylvania Law School and received his B.A., magna cum laude,
from Harvard University.

He is admitted to practice in the States of New York and California.

Joseph H. Einstein, Of Counsel
jeinstein@labaton.com

A seasoned litigator, Joseph H. Einstein represents clients in complex corporate disputes, employment
matters, and general commercial litigation. He has litigated major cases in the state and federal courts and has
argued many appeals, including appearing before the United States Supreme Court.

His experience encompasses extensive work in the computer software field including licensing and consulting
agreements. Joe also counsels and advises business entities in a broad variety of transactions.

Joe serves as an official mediator for the United States District Court for the Southern District of New York. He
is an arbitrator for the American Arbitration Association and FINRA. Joe is a former member of the New York
State Bar Association Committee on Civil Practice Law and Rules and the Council on Judicial Administration of
the Association of the Bar of the City of New York. He currently is a member of the Arbitration Committee of
the Association of the Bar of the City of New York.

During Joe’s time at New York University School of Law, he was a Pomeroy and Hirschman Foundation Scholar,
and served as an Associate Editor of the Law Review.

Joe has been awarded an AV Preeminent rating, the highest distinction, from the publishers of the Martindale-
Hubbell directory.

He is admitted to practice in the State of New York as well as before the Supreme Court of the United States,
the United States Courts of Appeals for the First and Second Circuits, and the United States District Courts for
the Southern and Eastern Districts of New York.

                                                                                                                35
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 39 of 43 Page ID
                                    #:5102



John J. Esmay, Of Counsel
jesmay@labaton.com

John J. Esmay focuses on prosecuting complex securities fraud cases on behalf of institutional investors.

Prior to joining Labaton Sucharow, John was an associate at a white collar defense firm where he assisted in all
aspects of complex litigation including securities fraud, banking regulation violations, and other regulatory
matters. John successfully defended a disciplinary hearing brought by the Financial Industry Regulatory
Authority's (FINRA) enforcement division for allegations of insider trading and securities fraud. John helped
reach a successful conclusion of a criminal prosecution of a trader for one of the nation's largest financial
institutions involved in a major bid-rigging scheme. He was also instrumental in clearing charges and settling a
regulatory matter against a healthcare provider brought by the New York State Office of the Attorney
General.

Prior to his white collar defense experience, John was an associate at Hogan Lovells US LLP and litigated many
large complex civil matters including securities fraud cases, antitrust violations, and intellectual property
disputes.

John also previously worked as a judicial clerk for the Honorable William H. Pauley III in the Southern District of
New York. He received his J.D., magna cum laude, from Brooklyn Law School and his B.S. from Pomona
College.

John is admitted to practice in the State of New York.

Derrick Farrell, Of Counsel
dfarrell@labaton.com

Derrick Farrell focuses on representing shareholders in appraisal, class, and derivative actions. He has
substantial trial experience as both a petitioner and a respondent on a number of high profile matters,
including: In re Appraisal of Ancestry.com, Inc., C.A. No. 8173-VCG, IQ Holdings, Inc. v. Am. Commercial Lines
Inc., Case No. 6369-VCL, and In re Cogent, Inc. S'holder Litig., C.A. No. 5780-VCP. He has also argued before
the Delaware Supreme Court on multiple occasions.

Prior to joining Labaton Sucharow, Derrick started his career as an associate at Latham & Watkins LLP, where
he gained substantial insight into the inner workings of corporate boards and the role of investment bankers in
a sale process. He has guest lectured at Harvard University and co-authored numerous articles including
articles published by the Harvard Law School Forum on Corporate Governance and Financial Regulation and
PLI.

Derrick graduated from Texas A&M University (B.S., Biomedical Science) and the Georgetown University Law
Center (J.D. cum laude). At Georgetown Mr. Farrell served as an advocate and coach to the Barrister's Council
(Moot Court Team) and was Magister of Phi Delta Phi. Following his graduation Derrick clerked for the
Honorable Donald F. Parsons, Jr., Vice Chancellor, Court of Chancery of the State of Delaware.

Derrick is licensed to practice law in the States of Delaware and Massachusetts and is admitted to practice
before the U.S. District Court for the District of Delaware.

Alfred L. Fatale III, Of Counsel
afatale@labaton.com

Alfred L. Fatale III focuses on prosecuting complex securities fraud cases on behalf of institutional and
individual investors.



                                                                                                                36
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 40 of 43 Page ID
                                    #:5103


Alfred represents investors in cases related to the protection of the financial markets in trial and appellate
courts throughout the country. In particular, he is leading the firm’s efforts in litigating securities claims against
several companies in state courts following the U.S. Supreme Court’s decision in Cyan, Inc. v. Beaver County
Employees Retirement Fund. This includes prosecuting In re ADT Inc. Shareholder Litigation, a case alleging
that the offering documents for ADT’s $1.47 billion IPO misrepresented the competition the company was
facing from do-it-yourself home security products.

He recently secured an $11 million settlement for investors in In re CPI Card Group Inc., Securities Litigation, a
class action brought by an individual retail investor against a debit and credit card manufacturer that allegedly
misrepresented demand for its products prior to the company’s IPO.

Alfred is also actively involved in Murphy v. Precision Castparts Corp., a case against a major aerospace parts
manufacturer that allegedly misled investors about its market share and demand for its products, and Boston
Retirement System v. Alexion Pharmaceuticals Inc., a class action arising from the company’s conduct in
connection with sales of Soliris – a drug that costs between $500,000 and $700,000 a year.

Prior to joining Labaton Sucharow, Alfred was an associate at Fried, Frank, Harris, Shriver & Jacobson LLP,
where he advised and represented financial institutions, investors, officers, and directors in a broad range of
complex disputes and litigations including cases involving violations of federal securities law and business
torts.

Alfred earned his J.D. from Cornell Law School, where he was a member of the Cornell Law Review, as well as
the Moot Court Board. He also served as a judicial extern under the Honorable Robert C. Mulvey. He received
his B.A., summa cum laude, from Montclair State University.

Alfred is an active member of the American Bar Association, Federal Bar Council, New York State Bar
Association, New York County Bar Association, and New York City Bar Association.

Alfred is admitted to practice in the State of New York as well as before the United States Court of Appeals
for the Second Circuit, and the United States District Courts for the Southern and Eastern Districts of New
York.

Mark Goldman, Of Counsel
mgoldman@labaton.com

Mark S. Goldman has 30 years of experience in commercial litigation, primarily litigating class actions involving
securities fraud, consumer fraud, and violations of federal and state antitrust laws.

Mr. Goldman has extensive experience in data protection and consumer litigation, including representing
numerous victims of identity theft seeking to hold accountable companies that failed to protect the safety of
private data maintained on their networks, including In re Community Health Systems, Inc. Customer Data
Security Breach Litigation, No. 15-cv-222 (N.D. Ala.), In re Anthem, Inc. Data Breach Litigation, No. 15-md-
02617 (N.D. Cal.), In re Intuit Data Litigation, No. 15-cv-1778 (N.D. Cal.), and In re Medical Informatics
Engineering, Inc. Customer Data Security Breach Litigation, MDL No. 2667 (N.D. Ind.).

In the antitrust field, Mr. Goldman litigated several cases that led to recoveries exceeding $1 billion each, for
the benefit of the consumers and small businesses he represented, including In re Air Cargo Antitrust
Litigation, No. 06-md-1775 (E.D.N.Y.), In re Vitamins Antitrust Litigation, MDL No. 1285 (D.D.C.), In re
NASDAQ Antitrust Litigation, No. 94-cv-3996 (S.D.N.Y.), and In re Brand Name Prescription Drugs Antitrust
Litigation, No. 94-c-897 (N.D. Ill.).

In the area of securities litigation, Mr. Goldman played a prominent role in class actions brought under the
antifraud provisions of the Securities Exchange Act of 1934, including In re Nuskin Enterprises, Inc. Securities


                                                                                                                   37
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 41 of 43 Page ID
                                    #:5104


Litigation, No. 14-cv-0033 (D. Utah), In re Spectrum Pharmaceuticals, Inc. Securities Litigation, No. 13-cv-0433
(D. Nev.), and In re OmniVision Technologies, Inc. Securities Litigation, No. 11-cv-05235 (N.D. Cal.).

Mr. Goldman also prosecuted a number of insider trading cases brought against company insiders who, in
violation of Section 16(b) of the Securities Exchange Act of 1934, engaged in short swing trading. Mr.
Goldman has also served as co-lead counsel in a number of class actions brought against life insurance
companies, challenging the manner in which premiums are charged during the first year of coverage.

Mr. Goldman is a member of the Philadelphia Bar Association. Mr. Goldman has been awarded an AV
Preeminent rating, the highest distinction, from the publishers of the Martindale-Hubbell directory.

Lara Goldstone, Of Counsel
lgoldstone@labaton.com

Lara Goldstone advises pension funds and other institutional investors on issues related to corporate fraud in
the U.S. securities markets. Before joining Labaton Sucharow, Lara worked as a legal intern in the Larimer
County District Attorney’s Office and the Jefferson County District Attorney’s Office.

Prior to her legal career, Lara worked at Industrial Labs where she worked closely with Federal Drug
Administration standards and regulations. In addition, she was a teacher in Irvine, California.

Lara received a J.D. from University of Denver Sturm College of Law, where she was a judge of The Providence
Foundation of Law & Leadership Mock Trial and a competitor of the Daniel S. Hoffman Trial Advocacy
Competition. She earned a B.A. from The George Washington University where she was a recipient of a
Presidential Scholarship for academic excellence.

Lara is admitted to practice in the State of Colorado.

James McGovern, Of Counsel
jmcgovern@labaton.com

James McGovern advises leading pension funds and other institutional investors on issues related to corporate
fraud in domestic and international securities markets. His work focuses primarily on securities litigation and
corporate governance, representing Taft-Hartley, public pension funds, and other institutional investors across
the country in domestic securities actions. He also advises clients as to their potential claims tied to securities-
related actions in foreign jurisdictions.

James has worked on a number of large securities class action matters, including In re Worldcom, Inc.
Securities Litigation, the second-largest securities class action settlement since the passage of the PSLRA
($6.1 billion recovery); In re Parmalat Securities Litigation ($90 million recovery); In re American Home
Mortgage Securities Litigation (amount of the opt-out client’s recovery is confidential); In re The Bancorp Inc.
Securities Litigation ($17.5 million recovery); In re Pozen Securities Litigation ($11.2 million recovery); In re
Cabletron Systems, Inc. Securities Litigation ($10.5 million settlement); and In re UICI Securities Litigation
($6.5 million recovery).

In the corporate governance arena, James helped bring claims against Abbott Laboratories’ directors, on
account of their mismanagement and breach of fiduciary duties for allowing the company to engage in a
10-year off-label marketing scheme. Upon settlement of this action, the company agreed to implement
sweeping corporate governance reforms, including an extensive compensation clawback provision going
beyond the requirements under the Dodd-Frank Act.

Following the unprecedented takeover of Fannie Mae and Freddie Mac by the federal government in 2008,
James was retained by a group of individual and institutional investors to seek recovery of the massive losses


                                                                                                                 38
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 42 of 43 Page ID
                                    #:5105


they had incurred when the value of their shares in these companies was essentially destroyed. He brought and
continues to litigate a complex takings class action against the federal government for depriving Fannie Mae
and Freddie Mac shareholders of their property interests in violation of the Fifth Amendment of the U.S.
Constitution, and causing damages in the tens of billions of dollars.

James also has addressed members of several public pension associations, including the Texas Association of
Public Employee Retirement Systems and the Michigan Association of Public Employee Retirement Systems,
where he discussed how institutional investors could guard their assets against the risks of corporate fraud and
poor corporate governance.

Prior to focusing his practice on plaintiffs’ securities litigation, James was an attorney at Latham & Watkins
where he worked on complex litigation and FIFRA arbitrations, as well as matters relating to corporate
bankruptcy and project finance. At that time, he co-authored two articles on issues related to bankruptcy
filings: Special Issues In Partnership and Limited Liability Company Bankruptcies and When Things Go Bad: The
Ramifications of a Bankruptcy Filing.

James earned his J.D., magna cum laude, from Georgetown University Law Center. He received his B.A. and
M.B.A. from American University, where he was awarded a Presidential Scholarship and graduated with high
honors.

He is admitted to practice in the State of Vermont and the District of Columbia.

Mark D. Richardson, Of Counsel
mrichardson@labaton.com

Mark D. Richardson focuses on representing shareholders in derivative litigation and corporate governance
matters.

Prior to joining Labaton Sucharow, Mark was an associate at Schulte Roth & Zabel LLP, where he focused on
complex commercial litigation within the financial services industry. He advised and represented clients in class
action litigation, expedited bankruptcy proceedings and arbitrations, fraudulent transfer actions, proxy fights,
internal investigations, employment disputes, breaches of contact, enforcement of non-competes, data theft,
and misappropriation of trade secrets.

Mark has contributed to several publications over the years. In 2016, he was the recipient of the Distinguished
Legal Writing award by the Burton Awards for Legal Achievement for an article published in the New York Law
Journal, “Options When a Competitor Raids the Company.”

Mark earned his J.D. from Emory University School of Law, where he served as the President of the Student
Bar Association. He now teaches as an Adjunct Professor in Emory’s Kessler-Eidson Program for Trial
Techniques. He received his B.S. from Cornell University.

Mark is admitted to practice in the States of New York and Pennsylvania, as well as before the United States
Court of Appeals for the Second Circuit, and the U.S. District Court of the Southern and Eastern Districts of
New York.

Elizabeth Rosenberg, Of Counsel
erosenberg@labaton.com

Elizabeth Rosenberg focuses on prosecuting complex securities fraud cases on behalf of institutional investors,
with a focus on obtaining court approval of class action settlements, notice procedures, and payment of
attorneys’ fees.




                                                                                                                39
  Case 2:16-cv-02942-DSF-KS Document 310-4 Filed 04/29/20 Page 43 of 43 Page ID
                                    #:5106


Prior to joining Labaton Sucharow, Elizabeth was an associate at Whatley Drake & Kallas LLP, where she
litigated securities and consumer fraud class actions. Elizabeth began her career as an associate at Milberg LLP
where she practiced securities litigation and was also involved in the pro bono representation of individuals
seeking to obtain relief from the World Trade Center Victims’ Compensation Fund.

Elizabeth received her J.D. from Brooklyn Law School. She obtained her B.A. in Psychology from the University
of Michigan.

Elizabeth is admitted to practice in the State of New York and the District Courts for the Southern and Eastern
Districts of New York.




                                                                                                             40
